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                             No. 24-5220
        IN THE UNITED STATES COURT OF APPEALS
                FOR THE SIXTH CIRCUIT
                     ______________

                        STATE OF TENNESSEE,
                          Plaintiff-Appellant,
                                   v.
   UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
   XAVIER BECERRA, in his official capacity, OFFICE OF POPULATION
     AFFAIRS, and JESSICA S. MARCELLA, in her official capacity,
                        Defendants-Appellees.
                           ______________
On Appeal from the Judgment of the United States District Court for the
      Eastern District of Tennessee (No.3:23-cv-384-TRD-jem)

                      BRIEF OF APPELLANT

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              STATEMENT REGARDING ORAL ARGUMENT

      Because this case raises important constitutional, statutory, and administra-

tive-law issues regarding the validity of a significant action by a federal agency,

Appellant the State of Tennessee requests oral argument.




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                        JURISDICTIONAL STATEMENT

      The district court had jurisdiction to hear the case under 28 U.S.C. § 1331, as

it involves the meaning of a federal statute. This Court has appellate jurisdiction

under 28 U.S.C. § 1292(a)(1) to review the district court’s denial of a preliminary

injunction.




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                         STATEMENT OF THE ISSUES

      1.     Whether HHS likely exceeded its constitutional authority by stripping

Tennessee’s Title X funding by enforcing an HHS-created condition derived from

an admittedly ambiguous statute.

      2.     Whether HHS likely violated the Administrative Procedure Act by ex-

ceeding its Title X authority to strip Tennessee’s program funding for failure to

counsel and refer for illegal abortions; acting arbitrarily and capriciously by strip-

ping Tennessee’s funding without addressing contrary regulatory provisions, its

prior approval of Tennessee’s approach to abortion referrals, or the many important

aspects of the regulatory problem its approach to illegal abortions raises; and failing

to follow required procedures before applying a new policy of requiring illegal-abor-

tion counseling and referrals.

      3.     Whether Tennessee has shown risk of irreparable harm when it faces

many millions in imminent financial losses—with $7 million in losses occurring as

soon as July 2024—that HHS has deemed unrecoverable, as well as irreparable

harms to its grantee good-standing, reputational, and sovereign interests.

      4.     Whether the balance of the equities warrants restoring Tennessee’s

longstanding Title X funding when HHS has found Tennessee the only Title X pro-

vider able to offer services with integrity statewide.



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                                INTRODUCTION

      Title X of the Public Health Services Act provides federal funding so that

States and others can provide family planning services. The statute expressly pro-

hibits those funds from flowing to “programs where abortion is a method of family

planning.” 42 U.S.C. § 300a-6. Yet, HHS has long said this provision, and thus

Title X, is ambiguous with respect to the agency’s authority to impose abortion-

related conditions on program participants. For decades, HHS has relied on that

statutory ambiguity to defend flip-flopping rules on whether States must counsel and

refer women for elective abortions. And now HHS has wielded its abortion-referral

rule to strip Tennessee’s Title X funding because the State will not counsel and refer

for elective abortions that are illegal in the State. HHS has already rerouted millions

in Tennessee’s Title X funding to pro-abortion groups; within months, HHS will

deprive Tennessee of $7 million more.

      This Court should preliminarily enjoin HHS’s unprecedented defunding deci-

sion. Tennessee has a strong likelihood of success on the merits because HHS’s

decision violates core constitutional and administrative-law limits. The Spending

Clause requires “Congress itself” to speak “with a ‘clear voice’” when conditioning

funding, particularly when a condition implicates “core aspect[s] of state sover-

eignty.” Kentucky v. Yellen, 54 F.4th 325, 354 (6th Cir. 2022). HHS fails this man-

date thrice over: Its condition (at very most) appears only in a rule the agency

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adopted, based on statutory text HHS has long deemed ambiguous, on a “matter[] of

great social significance and moral substance” that States once again control. Dobbs

v. Jackson Women’s Health Org., 597 U.S. 215, 300 (2022).

      In response, HHS argued, and the district court accepted, that Title X’s abor-

tion ambiguity is irrelevant. It was enough, they reasoned, that a separate boilerplate

provision of Title X authorizes HHS to provide grants “in accordance with such reg-

ulations” HHS “may promulgate.” 42 U.S.C. § 300a-4(a). Translation: The only

“clear” Spending-Clause condition a statute need set is one allowing agencies to

adopt whatever after-the-fact conditions they want. That sweeping view would ren-

der the Spending Clause—and this Circuit’s precedents interpreting it—a dead letter

and fail nondelegation muster to boot. The novelty of this argument is telling. HHS

has long sourced its power to require abortion counseling-and-referral activities in

Title X’s ambiguity on abortion conditions—as this Court’s decision in Ohio v.

Becerra, 87 F.4th 759, 766-68 (6th Cir. 2023), highlights. Having leveraged this

ambiguity to defeat statutory challenges, HHS now must face the constitutional con-

sequences. If the Spending Clause’s clear-statement rule bars anything, it is HHS’s

attempt to subvert core state prerogatives with a controversial illegal-abortion-coun-

seling-and-referral condition Congress nowhere mentioned in Title X.

      HHS’s defunding decision further flouts Title X itself and the Administrative

Procedure Act (APA). The challenged HHS action (“the Rescindment”)—stripping

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Tennessee’s funding—must satisfy the APA by adhering to HHS’s statutory author-

ity and deriving from reasoned decision-making. HHS’s decision fails both require-

ments. Whatever Chevron leeway HHS has to mandate abortion counseling and

referrals, requiring a State to promote illegal abortions is a bridge too far. HHS’s

position moreover raises important legal, public-health, compliance, and reliance

problems the agency has never addressed, let alone adequately. This Court, in Ohio,

foresaw this result, warning that HHS’s application of its counseling-and-referral

condition in States where abortion is generally illegal would “undoubtedly” raise

new legal problems. Neither Title X, nor the APA, nor existing precedent permits

HHS to blindly apply pre-Dobbs abortion conditions as if States’ fundamental shift

in post-Dobbs abortion policy never happened.

      The Rescindment inflicts textbook irreparable harm. HHS already denied

Tennessee many millions in 2023 and does not dispute that Tennessee will lose an-

other $7 million in funding as soon as July 2024. Yet HHS’s sovereign immunity—

and its choice to disburse Tennessee’s funds to Planned Parenthood and others—

leave Tennessee without any guarantee of eventual recovery. Compounding Ten-

nessee’s imminent loss, HHS’s decision irreparably harms Tennessee’s reputation,

good standing as a federal grantee, Title X employees and patients, and sovereign

interests in furthering its legislatively enacted pro-life policies.



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        Conversely, preliminary relief would not harm HHS or the public interest.

Tennessee has been an exemplary Title X grant recipient and a program participant

for fifty years. HHS gave Tennessee a glowing program review in October 2022

shortly before switching course to carry out the agency’s promote-abortion-at-all-

costs agenda. Indeed, HHS found Tennessee the only entity in the State equipped to

provide Title X services with integrity—meaning the public would benefit from Ten-

nessee’s continued funding. The public interest likewise favors requiring HHS to

abide by legal limits before conditioning $263 million in annual Title X funding on

a controversial condition that contravenes myriad state laws against terminating fetal

life. A preliminary injunction is warranted.

                                 BACKGROUND

   I.      Statutory and Legal Background.

           A. Title X and Section 1008’s no-abortion-funding limit.

        Congress enacted Title X of the Public Health Service Act, 42 U.S.C. § 300,

et seq., to provide federal funding for family planning services. Title X authorizes

the Secretary to “make grants to and enter into contracts with public or nonprofit

private entities to assist in the establishment and operation of voluntary family plan-

ning projects which shall offer a broad range of acceptable and effective family plan-

ning methods and services.” 42 U.S.C. § 300(a). Those grants and contracts are

“made in accordance with such regulations as the Secretary may promulgate.” Id. §


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300a-4(a). But Congress placed a guardrail on that authority. Section 1008 of Title

X provides that “[n]one of the funds appropriated under this subchapter shall be used

in programs where abortion is a method of family planning.” Id. § 300a-6.

         B. HHS’s shifting interpretations of its Title X abortion authority.

       HHS has always agreed that Section 1008 of Title X prevents it from requir-

ing (or permitting) grantees to perform abortions. By contrast, HHS’s view on its

power to require grantees to refer and counsel for abortion procedures has “flipped

back and forth” between irreconcilable formulations. Ohio, 87 F.4th at 765.

       Sometimes HHS has understood Section 1008 to permit abortion counseling

and referrals in Title X programs. Other times, HHS has invoked its Section 1008

authority to require abortion counseling and referrals by Title X participants. And

still other times, HHS has interpreted Section 1008 to prohibit Title X participants

from counseling and referring for abortion. These changes occurred in 1971 (no

funding), the mid-1970s (directive counseling prohibited, nondirective counseling

allowed), 1981 (requiring counseling and referrals required), 1988 (barring both

counseling and referrals), 2000 (requiring both counseling and referrals), and 2019

(permitting nondirective counseling, but prohibiting referrals). See id. at 765-768.

Amid these dizzying changes, though, one HHS position has remained constant:

HHS has always viewed its abortion-condition-setting “authority” as linked to Sec-

tion 1008’s scope. 84 Fed. Reg. 7714, 7722 (Mar. 4, 2019); see, 65 Fed. Reg.

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41270, 41270-72 (July 3, 2000); 53 Fed. Reg. 2922, 2923-25 (Feb. 2, 1988).

      In Rust v. Sullivan, the Supreme Court also held that Section 1008 dictates

HHS’s ability to set abortion conditions. 500 U.S. 173, 184-87 (1991). The Court

considered whether HHS’s 1988 rule prohibiting abortion counseling and referrals

fell within the agency’s rulemaking authority as limited by Section 1008. Id. at

183-84. The Court held that Section 1008 is “ambiguous” because it “does not

speak directly to the issues of counseling [or] referral[s].” Id. at 184. The “legis-

lative history,” according to the Court, was similarly “ambiguous” as to what Sec-

tion 1008 requires. Id. at 186. The Court therefore evaluated the rule under the

two-step framework from Chevron, U.S.A., Inc. v. Natural Resources Defense

Council, Inc., 467 U.S. 837 (1984), and deferred to HHS’s reasonable interpretation

of Section 1008, Rust, 500 U.S. at 184-87.

         C. The 2021 Rule, Dobbs, and this Court’s decision in Ohio.

      HHS’s latest rule came in October 2021. 86 Fed. Reg. 56144 (Oct. 7, 2021)

(“2021 Rule”). Among other things, the 2021 Rule replaced the 2019 rule’s ban

on abortion referrals with a mandate that Title X projects make abortion referrals

upon request. Id. at 56179. HHS imposed this mandate without meaningfully ad-

dressing warnings from States that this approach would “contradict medical ethics”




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    as shown by “state laws from around the country.”1

         A new round of litigation ensued. Ohio challenged the 2021 Rule as unlawful

under the APA and sought injunctive relief. See Ohio, 87 F.4th at 767-68. This

Court recognized that it could not evaluate the 2021 Rule “with a blank slate” given

the Supreme Court’s decision in Rust. Id. at 768. But because the “doctrinal land-

scape” around Chevron “has shifted dramatically since” the Rust decision, the court

found itself “in an odd spot.” Id. at 769. Rust “remains binding precedent,” but the

Chevron analysis undergirding it has “‘become pitted with exceptions and cave-

ats[,]’” and the Court has “fundamentally chang[ed] how courts should perform a

Chevron deference analysis.” Id. at 769-70 (citations omitted).

         This Court nonetheless held that it was “bound by Rust’s determination that

§ 1008 is ambiguous under step one of Chevron.” Id. at 770. And because the 2021

Rule was not “an impermissible” interpretation of that ambiguous section, the court

upheld the referral mandate. Id. at 772. The panel further held that “the Supreme

Court’s holding in Rust require[d] [it] to reject the States’ argument that the referral

mandate is arbitrary and capricious.” Id. at 775.

         Ohio thus upheld HHS’s general authority to set abortion-counseling-and-




1
 Ohio and twenty other States, Comments Regarding Proposed Rule “Ensuring Ac-
cess to Equitable, Affordable, Client-Centered, Quality Family Planning Services”
12-13 (April 15, 2021), https://perma.cc/U522-YRYJ.
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referral conditions under Section 1008. But in so doing, this Court stated that Dobbs

would affect HHS’s Title X decision-making moving forward—an issue that was

not presented by Ohio’s facial challenge, since Dobbs came after the 2021 Rule’s

promulgation. Ohio, 87 F.4th at 774 n.7 (citing U.S. Dep’t of Homeland Sec. v.

Regents of the Univ. of Cal., 140 S. Ct. 1891, 1907 (2020)). This Court noted that

“[t]he impact of Dobbs on the Title X program is undoubtedly an ‘important aspect’

of the question now,” meaning that application of the 2021 Rule’s referral mandate

against States with post-Dobbs laws criminalizing abortion would require new and

different scrutiny. Id.

      Tennessee is one such State. Tennesseans have repeatedly affirmed the im-

portance of safeguarding fetal life. This pro-life policy has a substantial pedigree

dating back centuries, see, e.g., 1883 Tenn. Pub. Acts, ch. 140, pp. 188-89 (generally

criminalizing elective abortions), and persists across myriad state laws today, e.g.,

Tenn. Code Ann. § 39-15-213; id. § 39-15-214(5)-(6) (2020)). These laws flow di-

rectly from the Tennessee Constitution, which expressly specifies that “[n]othing in

this Constitution secures or protects a right to abortion.” Tenn. Const. art. I, § 36.

      Tennessee had prepared for Dobbs by passing the Human Life Protection Act

of 2019, which took effect 30 days after the Dobbs judgment. That act makes it a

felony to “perform[] or attempt[] to perform an abortion,” except in situations of

molar or ectopic pregnancies or when a pregnant woman faces other serious risks to

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her life or health. See generally Tenn. Code Ann. § 39-15-213. Tennessee law fur-

ther prohibits doctors from prescribing or dispensing abortion pills to women in the

State other than through in-person visits—rendering telehealth medication abortions

unlawful. Id. §§ 63-6-1103 to 1106. This limit tracks federal law. 18 U.S.C. § 1461.

   II.      Factual Background and Procedural History.

            A. Tennessee develops a leading Title X program.

         Tennessee’s Department of Health received its first Title X grant in 1971, and

over the next five decades, HHS renewed Tennessee’s Title X funding without fail.

Amosun Decl., R.1-5, PageID#131. The program provides services in over 100 Title

X facilities statewide. Program Review, R.1-1, PageID#36. The program provides

an array of family planning and health services ranging from abstinence training, to

natural family planning and fertility methods, to pregnancy testing and infertility

services. Amosun Decl., R.1-5, PageID#132. Tennessee’s program has also pro-

vided all options counseling, including counseling on pregnancy termination as re-

quested by the pregnant client, to the extent legal in Tennessee. Id.

         Each year, Tennessee serves over 40,000 individuals through Title X, most of

whom qualify as low income and depend on the State for vital services. Id.; Program

Review, R.1-1, PageID#36. HHS has commended Tennessee for developing a

“leading” Title X program, recognizing the State’s “strong” performance. See Pro-

gram Review, R.1-1, PageID#36; Oct. 19 Email, R.1-2, PageID#96.

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         B. HHS reaffirms its approval of Tennessee’s “wonderful” Title X
            program after Dobbs.

      In March 2022, the Office of Population Affairs (OPA), which administers

Title X within HHS, again issued Tennessee a new Title X grant. Mar. 2022 Notice

of Award, R.1-7, PageID#170-86. The 5-year grant extended through 2027. Id. at

PageID#170. Tennessee was to receive approximately $7 million each year. See

Amosun Decl., R.1-5, PageID#132.

       Months later, Dobbs triggered a chain of events. OPA in late June 2022 put

out guidance about Dobbs’s impact on Title X. Dobbs FAQ, R.1-6, PageID#161-

69. That guidance stated that Title X recipients are still required to provide coun-

seling and referrals for abortion, but it did not address how providers in states that

outlaw abortion could comply. Id. at PageID#164-66. OPA instead advised that

“[t]here are no geographic limits for Title X recipients making referrals,” but “Title

X recipients are required to provide for coordination and use of referrals and link-

ages with [providers] who are in close physical proximity to the Title X site, when

feasible[.]” Id. at PageID#165. OPA also recommended using telehealth for mak-

ing “necessary referral[s] to other medical facilities.” Id.

       Dobbs also started the clock for Tennessee’s criminal abortion prohibition to

take effect, with most abortions becoming illegal in August 2022. See Tenn. Code

Ann. § 39-15-213. Tennessee’s Department of Health accordingly adjusted its Title

X program. On July 1, 2022, the Department updated its protocol to clarify that it
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would comply with the 2021 Rule’s referral mandate by “provid[ing] information

and counseling regarding all options that are legal in the State of Tennessee.” See

Amosun Decl., R.1-5, PageID#132-33, 135 (emphasis added).

       Also in July, OPA began a pre-scheduled review of Tennessee’s Title X pro-

gram. Id. at PageID#133. During that review, the State told OPA about its post-

Dobbs policy. Id. OPA still found that Tennessee’s program “met” the 2021 Rule’s

counseling-and-referral expectations, even though “[n]o referrals for abortion are

made” under the post-Dobbs policy. Program Review, R.1-1, PageID#56. Indeed,

OPA lauded Tennessee’s Health Department as “the only agency” in the state capa-

ble of “administer[ing] Title X funds with integrity.” Id. at PageID#36. An OPA

official passing along Tennessee’s report praised the State for “such a wonderful

review and leading a strong Title X program.” Oct. 19 Email, R.1-2, PageID#96.

Tennessee continued serving thousands of patients following the review. Supp.

Amosun Decl., R.21-1, PageID#334.

          C. HHS reverses course and rescinds Tennessee’s Title X grant.

      In Dobbs’s wake, President Biden ordered agencies like HHS to assess “po-

tential actions” in light of States’ restored ability to regulate abortion—including un-

der Title X. See 87 Fed. Reg. 42053 (July 8, 2022).

      In response, OPA performed another audit of Tennessee’s program in January

2023. This review had one focus—ensuring the program complied with HHS’s

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abortion-counsel-and-referral dictates. Jan. 25 Ltr., R.1-8, PageID#187. Tennessee

reminded OPA of the State’s post-Dobbs policy of referring only for lawful preg-

nancy terminations. Feb. 13 Ltr., R.1-3, PageID#98-99. But this time, OPA disap-

proved the State’s program, deciding Tennessee must counsel and refer for abortions

prohibited by state law. Mar. 1 Ltr., R.1-9, PageID#189-90. Either that, or Tennes-

see should refer illegal abortions “out of state.” Mar. 20 Ltr., R.1-11, PageID#195.

      Tennessee disagreed that HHS’s 2021 Rule mandated illegal abortion refer-

rals, and stated it would follow its post-Dobbs policy. Mar. 13 Ltr., R.1-10,

PageID#192. OPA then rescinded Tennessee’s five-year grant; the lone reason was

Tennessee’s failure to follow HHS’s interpretation of the 2021 Rule as imposing an

illegal-abortion-counseling-and-referral condition.       Mar. 20 Ltr., R.1-11,

PageID#193-95. HHS ultimately reallocated the $7 million Tennessee was to receive

in 2023 to Planned Parenthood and similar groups. Compl., R.1, PageID#18-19.

HHS did not acknowledge its prior statement that only Tennessee’s Department of

Health could “administer Title X funds with integrity and without a gap in services.”

Program Review, R.1-1, PageID#36.

         D. Tennessee files suit.

      Tennessee sued to invalidate HHS’s rescindment of the State’s Title X grant.

Expecting that HHS would disburse another year’s funds on April 1, 2024, the State

sought a preliminary injunction, which the district court denied. Op. & Order

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(“Op.”), R.30, PageID#815-57. Tennessee immediately appealed. Not. of App.,

R.31, PageID#858-59.

      To obviate the need for emergency proceedings, Tennessee sought clarity re-

garding when HHS planned to disburse Tennessee’s 2024 grant money to other par-

ties. Ultimately, “counsel for HHS advised that HHS can voluntarily reserve, on a

temporary basis, Title X funding in an amount (approximately $7.1 million) suffi-

cient to preserve Tennessee’s ability to later access its 2024 Title X allocation should

Tennessee prevail in this appeal.” 6th Cir. Dkt. 11 at 6. This Court granted Tennes-

see’s consented-to motion for expedited briefing. 6th Cir. Dkt. 12. Because HHS

has committed to hold funds only through July 2024, Tennessee respectfully requests

resolution of its appeal by mid-July 2024.

                               LEGAL STANDARD

       Tennessee seeks a preliminary injunction and a stay of the Rescindment un-

der 5 U.S.C. § 705. Both aim to “preserve status or rights” pending judicial review,

id., and require balancing whether (1) a plaintiff is “likely to succeed on the merits”;

(2) the plaintiff is “likely to suffer irreparable harm in the absence of preliminary

relief”; (3) the “balance of the equities tips in [the plaintiff’s] favor”; and (4) an

“injunction is in the public interest,” Obama for Am. v. Husted, 697 F.3d 423, 428

(6th Cir. 2012) (quoting Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008)); see Ohio ex

rel. Celebrezze v. Nuclear Reg. Comm’n, 812 F.2d 288, 290 (6th Cir. 1987) (§ 705).

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This Court reviews the district court’s “legal conclusions de novo and its factual

findings for clear error.” Husted, 697 F.3d at 428.

                           SUMMARY OF ARGUMENT

      The balance of factors favors a preliminary injunction.

      I.     Tennessee has a strong likelihood of success on the merits. HHS’s un-

precedented decision to defund Tennessee’s Title X program for failing to counsel

and refer for illegal abortions violates constitutional and APA safeguards on agency

action. HHS’s contrary arguments are incorrect, as was the district court’s wholesale

adoption of HHS’s sweeping position.

      A.     HHS unconstitutionally imposed a novel Title X condition of its own

making to rescind Tennessee’s longstanding funding.

      The Constitution gives Congress exclusive spending-and-appropriations au-

thority. This Court has instructed that agencies can impose Spending Clause condi-

tions only through clear statutory language, not by regulation. And HHS agrees that

Title X does not clearly set out HHS’s power to set abortion conditions. So HHS

cannot impose its own rule-made mandate that grantees must counsel and refer for

illegal abortions. This novel HHS condition also fails because HHS has long

acknowledged Title X’s ambiguity, and the condition concerns a significant and con-

troversial policy issue that Congress must address. At a minimum, HHS cannot ret-

roactively rescind Tennessee’s Title X funds by applying the condition to illegal

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abortions in a way the 2021 Rule did not clearly disclose, let alone adequately justify.

The district court’s contrary conclusions misapply binding precedent, exaggerate the

consequences of enforcing the Spending Clause, and would create independent con-

stitutional defects with HHS’s rulemaking delegation.

      B.     As a new agency action, the Rescindment must independently satisfy

the APA. But the new condition it imposes exceeds HHS’s authority under Title X

and conflicts with the agency’s regulations. The Rescindment also derives from

arbitrary-and-capricious decision-making, because HHS did not consider important

regulatory problems, explain its switch in position, or account for the State’s reliance

interests. Moreover, notice-and-comment was required before HHS could impose

its condition.

      II.    Tennessee will suffer textbook irreparable harm absent injunctive re-

lief. Tennessee imminently faces a Title X funding deprivation that exceeds the

losses that constituted irreparable harm in Ohio. And HHS’s action continues to

inflict irreparable harm on Tennessee’s grantee-standing, reputational, and sover-

eign interests.

      III. A preliminary injunction would not prejudice HHS’s or the public’s in-

terests. Tennessee has been an exemplary Title X provider for 50 years, leading

HHS to deem it the only entity capable of serving all Tennesseans with integrity.

Restoring Tennessee’s funding would thus further the core aims of Title X while

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protecting the public’s interest in federal agencies’ following the law.

                                   ARGUMENT

   I.      Tennessee Will Likely Succeed on the Merits.

        Tennessee has a strong likelihood of merits success because HHS flouted

Spending Clause and APA limits by defunding Tennessee’s Title X program.

           A. The Rescindment Violates the Spending Clause.

        The Spending Clause gives Congress authority to “lay and collect Taxes, …

to pay the Debts and provide for the common Defence and general Welfare of the

United States.” U.S. Const. art. I, § 8, cl. 1. Congress’s “control of the purse”

through this provision is among its “most important authorities.” Biden v. Nebraska,

143 S. Ct. 2355, 2375 (2023). Here, HHS unlawfully seized Congress’s Spending

Clause power to impose a controversial condition on Title X funding that the statute

nowhere contains. At minimum, HHS cannot adopt this condition after decades of

claiming that it lacks clear abortion-condition authority.

              1. The Constitution vests Congress with exclusive power to set
                 Spending Clause conditions.

        The Constitution exclusively grants Congress the power of the purse, which

Congress alone—not agencies acting after the fact—can exercise by setting clear

conditions on Spending Clause programs. See U.S. Const. art. I, § 8, cl. 1 (Spending

Clause); U.S. Const. art. I, § 9, cl. 7 (Appropriations Clause).

        Start with Spending Clause “first principles.” Cutter v. Wilkinson, 423 F.3d

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579, 584 (6th Cir. 2005). Because Congress has “exclusive power over the federal

purse,” U.S. Dep’t of Navy v. FLRA, 665 F.3d 1339, 1347 (D.C. Cir. 2012) (Ka-

vanaugh, J.) (citation omitted); see City & Cnty. of San Francisco v. Trump, 897

F.3d 1225, 1231 (9th Cir. 2018), it follows from basic separation-of-powers princi-

ples that the Executive Branch “cannot exercise [the] legislat[ure’s]” spending au-

thority, see Springer v. Gov’t of Philippine Islands, 277 U.S. 189, 201 (1928); cf.

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952). On that point, the

founders agreed: It “was undisputed that the executive would have no prerogative

power to tax, spend, or borrow.” Michael W. McConnell, The President Who Would

Not Be King: Executive Power under the Constitution 101 (2020).

      That structural limitation on Congress’s spending power is “vital to the integ-

rity and maintenance of the system of government ordained by the constitution.”

Marshall Field & Co. v. Clark, 143 U.S. 649, 692 (1892). By vesting the legislature

with sole spending-and-appropriations authority, the Constitution promotes account-

ability by ensuring that “public funds will be spent according to the letter of the

difficult judgments reached by Congress as to the common good.” OPM v. Rich-

mond, 496 U.S. 414, 428 (1990). Furthermore, by “separat[ing] the ‘purse’ from the

‘sword,’” congressional control over spending also prevents executive overreach.

Tex. Educ. Agency v. U.S. Dep’t of Educ., 992 F.3d 350, 361-62 (5th Cir. 2021) (ci-

tations omitted). It does so because the founders learned from experience that

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combining those powers in a single branch “would furnish [that] body with all the

means of tyranny.” 2 Debates on the Federal Constitution 348-49 (J. Elliot 2d ed.

1854) (A. Hamilton). That makes the spending power “one of the most important

authorities allocated to Congress in the Constitution’s ‘necessary partition of power

among the several departments.’” U.S. Dep’t of Navy, 665 F.3d at 1346 (citation

omitted).

      Congress may “set the terms on which it disburses federal funds” pursuant to

its “broad power under the Spending Clause.” Cummings v. Premier Rehab Keller,

PLLC, 596 U.S. 212, 216 (2022). But “when Congress attaches conditions to a

State’s acceptance of federal funds, the conditions must be set out ‘unambigu-

ously.’” Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006)

(citation omitted). This clear-statement rule reflects that “‘[l]egislation enacted pur-

suant to the spending power is much in the nature of a contract,’ and therefore, to be

bound by ‘federally imposed conditions,’ recipients of federal funds must accept

them ‘voluntarily and knowingly.’” Id. (citation omitted). Because “States cannot

knowingly accept conditions of which they are ‘unaware’ or which they are ‘unable

to ascertain,’” id. (citation omitted), conditions on grants must be stated clearly so

States accepting funds are fully aware of their obligations, Yellen, 54 F.4th at 348.

             2. HHS lacked constitutional authority to impose the illegal-abor-
                tion-counseling-and-referral condition on Title X funding.

      a.     HHS does not and cannot dispute that Title X itself lacks any clear
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abortion-counseling-and-referral conditions.

       In Title X, Congress exercised its power under the Spending Clause by au-

thorizing HHS to make grants “to State health authorities to assist in planning, es-

tablishing, maintaining, coordinating, and evaluating family planning services.” 42

U.S.C. § 300a-(a). Because the States in Ohio did not raise the Spending Clause in

their facial challenge to the 2021 Rule—which only considered HHS’s pre-Dobbs

authority—this Court could not consider whether Title X provides clear notice of

an illegal-abortion-counseling-and-referral condition. It does not.

      HHS does not claim—indeed, it cannot claim—that the condition follows

from Section 1008’s plain text. After all, Rust held that “the language of § 1008” is

“ambiguous” on the “issues of counseling [and] referral[s].” 500 U.S. at 184. So

even if the 2021 Rule’s referral mandate is a permissible interpretation of Sec-

tion 1008, Ohio, 87 F.4th at 772, it is not clearly disclosed by Section 1008. So too

for HHS’s application of that mandate against States that have outlawed elective

abortions. HHS acknowledged as much at the rulemaking stage, explaining that its

authority to impose the referral mandate as a spending condition derives from Title

X’s “ambigu[ity]” on the issue. 86 Fed. Reg. at 56149 (citation omitted). And that

is the point. An unclear statute lacks the requisite clear congressional authorization

for the new condition. See Va. Dep’t of Educ. v. Riley, 106 F.3d 559, 567 (4th Cir.



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1997) (en banc).2

      That statutory ambiguity leaves no room for a court to conclude that Title X

clearly requires Tennessee to provide counseling and referrals for abortions that are

illegal under state law—the hurdle Spending-Clause conditions must clear. The

Constitution thus bars HHS from defunding Tennessee for failure to follow a condi-

tion Title X nowhere contains.

      b.     The illegal-abortion-counseling-and-referral condition allegedly de-

rives from the 2021 Rule, but HHS cannot use rulemaking to seize congressional

spending power by adding novel conditions to spending programs.

      “[T]he ability to place conditions on federal grants ultimately comes from the

Spending Clause.” Tex. Educ. Agency, 992 F.3d at 362; see South Dakota v. Dole,

483 U.S. 203, 206 (1987). And because the spending power belongs only to Con-

gress, supra 20-21, spending conditions for grants “must come directly from the

statute” rather than an agency, Tex. Educ. Agency, 992 F.3d at 361. “Allowing an

executive agency to impose a condition that is not otherwise ascertainable in the law

Congress enacted ‘would be inconsistent with the Constitution’s meticulous separa-

tion of powers.’” W. Va. ex rel. Morrisey v. U.S. Dep’t of the Treasury, 59 F.4th

1124, 1147 (11th Cir. 2023) (citation omitted).



2
  Judge Luttig’s dissenting panel opinion was adopted in relevant part by a majority
of the en banc Fourth Circuit. See Va. Dep’t of Educ., 106 F.3d at 561.
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      That is why this Court decided in Yellen that spending conditions generally

cannot come from agencies. 54 F.4th at 353-54. Yellen involved spending legisla-

tion that empowered Treasury to disburse stimulus funds for pandemic-relief pur-

poses. Id. at 328. Those funds were conditioned on grantees complying with a vague

statutory requirement that did not provide states “clear notice” about how “to main-

tain compliance” with the applicable conditions. Id. at 352 (citation omitted). The

statute “itself [was] impermissibly vague about whichever obligations it impose[d]

on the states,” so this Court held that the agency could not enforce the challenged

condition. Id. at 353.

      In Yellen, Treasury had promulgated a rule interpreting the vague spending

conditions before States had accepted the stimulus funds at issue. Id. So the Court

next considered “whether Treasury’s Rule could provide clear notice of [spending]

conditions left otherwise indetermin[ed] by the statute.” Id. The Court held that it

could not. Because the rule involved “control over taxation”—“a core aspect of state

sovereignty”— it was “insufficient merely that an agency reasonably liquidated am-

biguities in the relevant statute.” Id. at 354. The Treasury could not enforce the

challenged spending condition because it did not come from “Congress itself.” Id.

      Yellen puts the Sixth Circuit in good company. The Fourth and Eleventh Cir-

cuits agree that regulations alone cannot satisfy the clear-statement rule. See, e.g.,

Morrisey, 59 F.4th at 1147; Va. Dep’t of Educ., 106 F.3d at 567. Those decisions

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rest on separation-of-powers principles, see Morrisey, 59 F.4th at 1147, and the

recognition that when a statute is silent, it is “axiomatic” that Congress has not “un-

ambiguously conditioned the States’ receipt of federal monies in the manner as-

serted,” Va. Dep’t of Educ., 106 F.3d at 567. Just like “an agency cannot choose its

own intelligible principle,” so too it “cannot provide the content that makes a funding

condition ascertainable.” Morrisey, 59 F.4th at 1148.

      Separation-of-powers interests align with these Spending Clause limits. In

today’s age, “those in the Executive Branch” increasingly seek “to use pen-and-

phone regulations as substitutes for laws passed by the people’s representatives.”

West Virginia v. EPA, 597 U.S. 697, 752-53 (2022) (Gorsuch, J., concurring). The

result reduces States’ power to protect their interests through the Constitution’s bi-

cameral process of lawmaking. See Bradford R. Clark, Separation of Powers as a

Safeguard of Federalism, 79 Tex. L. Rev. 1321, 1339-46 (2001). Allowing the Ex-

ecutive Branch to “clai[m] for itself Congress’s exclusive spending power,” San

Francisco, 897 F.3d at 1234, also undermines electoral accountability at the heart of

the Spending Clause, see P. Hamburger, Purchasing Submission 103–05 (2021), and

produces the combination of powers that the founders feared, Tex. Educ. Agency,

992 F.3d at 362.

      c.     Those precedents and principles doom the Rescindment, which rests on

HHS’s determination that Tennessee violated 42 C.F.R. § 59.5(a)(5)(ii)’s

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regulatorily imposed abortion-counseling-and-referral condition, Mar. 20 Ltr., R.1-

11, PageID#193-95; Supp. Amosun Decl., R.21-1, PageID#334, rather than any con-

dition imposed by Congress, see Yellen, 54 F.4th at 353.

             3. HHS’s counseling-and-referral condition generates unique
                Spending Clause difficulties.

      HHS’s attempt to impose conditions through rulemaking is particularly egre-

gious here. First, HHS has set a spending condition on a matter of great political

importance at the core of the state domain under an admittedly ambiguous law. Sec-

ond, HHS unveiled its position on illegal abortions only after awarding Tennessee

the grant at issue, which makes the rescindment unlawful.

      a.     For three reasons, HHS’s action here represents a particularly flagrant

seizure of Congress’s exclusive spending power:

      For one, the challenged spending condition implicates “a matter of great ‘po-

litical significance.’” West Virginia, 597 U.S. at 743 (Gorsuch, J., concurring) (quot-

ing NFIB v. OSHA, 595 U.S. 109, 117 (2022)). Courts “presume that ‘Congress

intends to make major policy decisions itself, not leave those decisions to agencies.’”

Id. at 723 (majority opinion) (citation omitted). Although Title X “does not speak

directly to the issues of counseling [or] referral[s]” for abortions, Rust, 500 U.S. at

184, HHS “claims the power to resolve” that policy issue, West Virginia, 597 U.S.

at 743 (Gorsuch, J., concurring), which concerns issues of “profound moral and so-

cial importance,” Dobbs, 597 U.S. at 269. Given “[t]he importance” of abortion
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policies, and the “earnest and profound debate across the country” about those poli-

cies, HHS’s asserted authority is “all the more suspect.” West Virginia, 597 U.S. at

732 (citations omitted).

      For two, the challenged condition “intrudes into an area that is the particular

domain of state law.” Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141

S. Ct. 2485, 2489 (2021). Tennessee has general police power to “regulat[e] health

and welfare” through limits on “the medical profession,” L.W. ex rel. Williams v.

Skrmetti, 83 F.4th 460, 473 (6th Cir. 2023), and through regulations that “protec[t]

fetal life,” Dobbs, 597 U.S. at 262. “For Congress to impose conditions in that area,

it must do so in clear and unmistakable terms.” Yellen, 54 F.4th at 354.

      When “core aspect[s] of state sovereignty” are at stake, “it is insufficient

merely that an agency reasonably liquidated ambiguities in the relevant statute.” Id.

Otherwise, HHS could compel a State to undermine its duly enacted abortion laws

as a condition for receiving substantial funding—“supersed[ing]” the “historic po-

lice powers of the States.” Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230

(1947). Given these “implications for the balance of power between the Federal

Government and the States,” the need for Congress to impose conditions is at its

apex. Yellen, 54 F.4th at 354 (citation omitted).

      For three, HHS’s condition-setting authority in this specific context is

uniquely ambiguous. Congress rarely gives “[e]xtraordinary grants of regulatory

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authority ... through ... ‘vague terms.’” West Virginia, 597 U.S. at 723 (citation

omitted). Yet here, the scope of the agency’s authority is just that—vague—because

whatever condition-setting power HHS has is limited by Section 1008’s ambiguous

restriction against using funds “in programs where abortion is a method of family

planning.” 42 U.S.C. § 300a-6. The degree of ambiguity is unique here because

HHS has at various times taken the position (upheld by courts) that counseling and

referrals for abortions is forbidden, permitted, and required by Title X. Where the

statute is hopelessly unclear, the agency lacks authority to impose conditions on this

major policy issue.

      If the Spending Clause’s clear-statement rule means anything, it is that agen-

cies cannot impose spending conditions on major policy questions that intrude into

areas of state authority, especially by relying on an ambiguous grant of authority that

has repeatedly shifted “as new administrations have come into power.” Ohio, 87

F.4th at 765. Allowing HHS to enforce the spending condition, even when the best

interpretation of Title X might render the agency devoid of authority to impose it at

all, “would be to grant to the agency power to override Congress.” La. Pub. Serv.

Comm’n v. FCC, 476 U.S. 355, 374-75 (1986). Thus, whatever power agencies have

to implement spending-power statutes, HHS exceeded that authority here.

      b.     Even if HHS had authority to impose its new rule-made abortion con-

dition, any Spending Clause conditions must be set out clearly before a State accepts

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funds. See Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 25 (1981). The

problem for HHS is that it unveiled its illegal-abortion-counseling-and-referral con-

dition long after Tennessee accepted its Title X grant. So Tennessee lacked clear

notice that it must comply with that condition to receive its Title X grant.

      In March 2022, HHS awarded Tennessee a five-year grant of Title X funds

after reviewing Tennessee’s policies and concluding that it complied with HHS’s

requirements. The “Project Period Start Date” for that “Federal Award” was April

1, 2022, and its “End Date” is March 31, 2027. Mar. 2022 Notice of Award, R.1-7,

PageID#170. After Dobbs, HHS reviewed Tennessee’s policies once again, and

once again found Tennessee in compliance. Amosun Decl., R.1-5, PageID#132-33;

Oct. 19 Email, R. 1-2, PageID#96. It was not until after President Biden’s newly

issued directives that HHS decided that Tennessee’s policies were a problem.

      HHS claims that the 2021 Rule unambiguously forbids Tennessee from lim-

iting its counseling and referrals to pregnancy-termination “options that are legal in

the State of Tennessee.” Mar. 1 Ltr., R.1-9, PageID#189. But the 2021 Rule is silent

on how its obligations apply post-Dobbs, specifically for States like Tennessee that

criminalized certain abortions after HHS promulgated the 2021 Rule. As Ohio ex-

plains, when HHS issued the 2021 Rule, Dobbs “had not yet happened.” 87 F.4th at

774 n.7. So the agency had no reason to issue an “authoritative’ or ‘official posi-

tion,’” Kisor v. Wilkie, 139 S. Ct. 2400, 2416 (2019) (citation omitted), on how the

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rule’s referral mandate applies to grantees that criminalize abortions that were con-

stitutionally protected when HHS issued the rule.

      The 2021 Rule’s failure to address that issue arguably renders the regulation

ambiguous on whether counseling and referrals can be limited to options that are

legal under state law. See Mich. Fam. Res., Inc. v. SEIU Loc. 517M, 475 F.3d 746,

754-55 (6th Cir. 2007) (en banc). Indeed, even if HHS ultimately has the more per-

suasive interpretation, the regulation is “silent rather than unambiguous” about the

scope of its legal obligations. Anspec Co. v. Johnson Controls, Inc., 922 F.2d 1240,

1248 n.1 (6th Cir. 1991) (Kennedy, J., concurring).

      That silence is hardly the only problem with HHS’s position. The “contract-

law analogy” employed in Spending-Clause cases also establishes that Tennessee

lacked adequate notice. Cummings, 596 U.S. at 219 (citation omitted). Most rele-

vant, Tennessee could not have reasonably known that HHS’s abortion condition

would operate irrespective of abortion’s “supervening illegality.” Cf. NLRB v. Int’l

Hod Carriers’, Union, 287 F.2d 605, 610 (9th Cir. 1961). Moreover, courts gener-

ally interpret contracts to avoid rendering them void for violating public policy. See

5 Williston on Contracts § 12:3 (4th ed.). HHS’s interpretation raises doubts about

the validity of the condition because state public policy makes clear that “[t]he free-

dom of contract must give way to the preservation of the public health, safety, mor-

als, or general welfare.” Baugh v. Novak, 340 S.W.3d 372, 383 (Tenn. 2011).

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      HHS seeks to enforce a novel condition undisclosed at the time of grant ac-

ceptance to strip Tennessee of funding to which it would otherwise be entitled. In

that sense, this case presents the precise concerns that Judge Bush warned about in

his statement regarding denial of en banc rehearing in Yellen. There, he explained

that the Pennhurst rule exists “to provide clarity to states when Congress passes the

law, not just when the Executive chooses to enforce it.” Kentucky v. Yellen, 67 F.4th

322, 326 (6th Cir. 2023) (Bush, J., statement regarding denial of reh’g en banc).

Here, though, HHS leveraged that uncertainty to apply a novel requirement against

Tennessee well after the State accepted the grant.

      By seeking to enforce Pennhurst’s requirements, Tennessee is not playing a

game of “gotcha.” To protect “Our Federalism,” Younger v. Harris, 401 U.S. 37, 44

(1971), the clear-statement rule “provides assurance that, before a state gives up

some of its power in exchange for federal grant money, the state’s eyes are wide

open: it knows what the consequences are,” Yellen, 67 F.4th at 324. Thus, that rule

is “critical to ensuring that Spending Clause legislation does not undermine the sta-

tus of the States as independent sovereigns in our federal system.” NFIB v. Sebelius,

567 U.S. 519, 577 (2012) (Roberts, C.J, opinion).

      Because HHS ignored those principles, Tennessee could not weigh those

tradeoffs because it had no way of knowing when it accepted the Title X funds that

it would be required to surrender its sovereign interest in not promoting abortions

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that are illegal under state law. That undermines reliance interests and erodes the

stability that Title X and the Spending Clause seek to promote. Congress’s grant

schemes often span decades—just as Title X does. States in turn devote substantial

time and resources to building up programs in reliance on the federal funding they

receive. Tennessee’s Title X program, for example, has a 50-year record resting on

a complex statewide infrastructure developed with immense effort. Giving HHS

after-the-fact power to alter funding conditions hampers the provision of “effective

family planning methods and services” by toggling state participation on and off at

will. 42 U.S.C. § 300(a). The problem is even worse in the context of Title X fund-

ing, which HHS issues in 5-year stints—meaning an HHS flip-flop (like the one

between 2019 and 2021) risks punishing grantees partway through their grant per-

formance, as HHS now seeks to do to Tennessee.

            4. The district court’s contrary reasoning is unavailing.

      The district court’s resolution of Tennessee’s claim misapplies the Supreme

Court’s and this Court’s precedents, creates new constitutional problems, and exag-

gerates the consequences of enforcing constitutional limits on the spending power.

      The district court first erred by concluding based on Supreme Court precedent

that “notice of spending conditions can be provided by agency regulations.” Op.,

R.30, PageID#828 (citing Jackson v. Birmingham Bd. of Educ., 544 U.S. 167 (2005)

and Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629 (1999)). Neither of the two

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cases the district court relied on supports that proposition. In Jackson, the Court

held that “Title IX itself ... supplied sufficient notice” of the relevant spending con-

dition. 544 U.S. at 183 (emphasis added). And in Davis, the Court reiterated that

“Congress [must] speak with a clear voice” when disbursing funds under the Spend-

ing Clause, and it found that “[t]he statute” by its “plain terms” provided that clarity.

See 526 U.S. at 640, 643, 650 (emphases added) (citation omitted). The regulations

merely bolstered the Court’s conclusions about what the plain text required; the

Court did not hold that the regulations by themselves satisfied Pennhurst. Indeed,

the Court has expressed its “reluctan[ce] to conclude” that States may lose their

funding based on later-adopted agency interpretations of the relevant statute. Ben-

nett v. Ky. Dep’t of Educ., 470 U.S. 656, 670 (1985).

      Next, the district court erred by concluding that Title X’s boilerplate rulemak-

ing provision solves HHS’s clear-statement-rule problem. The court reasoned that

“the statutory provision at issue … is not Title X’s prohibition on abortion being

used as a method of family planning but rather its … requirement that grantees abide

by HHS regulations.” Op. R.30, PageID#830 n.6. And because that statutory re-

quirement, which purportedly derives from Section 1006, is “unambiguous,” id., Ti-

tle X put grantees on clear and unambiguous notice that they can review HHS regu-

lations to find the applicable grant conditions.

      That reasoning does not avoid the constitutional problem for many reasons.

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For starters, Section 1006 imposes no spending conditions at all because it does not

create “legal duties” that grantees must follow. Pennhurst, 451 U.S. at 23. HHS has

consistently interpreted Section 1006—not as creating conditions of compliance for

grantees—but as a “grant of regulatory rulemaking authority” to the agency. 84 Fed.

Reg. at 7722; see 53 Fed. Reg. at 2925. As its subtitle heading suggests, Section

1006(a) empowers HHS to “promulgat[e] … regulations,” and it instructs the agency

to make “[g]rants and contracts … in accordance” with those regulations. 42 U.S.C.

§ 300a-4(a). Section 1006(b) in turn directs HHS to disburse grants “in such install-

ments” and “subject to … conditions” as the agency deems “appropriate.” Id.

§ 300a-4(b). Although Section 1006 puts States on notice that HHS “may” promul-

gate regulations, id. § 300a-4(a), and that it “may” impose conditions, id. § 300a-

4(b), those provisions stop short of setting any spending conditions themselves.

They “speak only to the Secretary” about how HHS may “distribut[e] … public

funds,” Gonzaga Univ. v. Doe, 536 U.S. 273, 287, 290 (2002), and do not create any

duties or rights for grantees, cf. id. at 287.

       Even if Section 1006 did impose a spending condition, that provision does not

instruct grantees with “unambiguous” clarity that they must follow the illegal-abor-

tion-counseling-and-referral condition to receive funding. A state official deciding

whether to accept HHS funds would review Section 1006 alongside Section 1008’s

funding condition. Pennhurst, 451 U.S. at 18. After reading those provisions, the

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official would know that grantees must follow certain conditions and regulations.

But the official would not “clearly understand that one of the obligations of [Title

X] is the obligation to” provide counseling and referrals for abortions that are illegal

under state law. Arlington Cent. Sch. Bd. Dist. of Educ., 548 U.S. at 296.

      It is no answer that “any state official seeking to identify the conditions of

accepting a grant can easily find them in HHS regulations.” Op., R.30, PageID#828.

That is because the Spending Clause requires that clarity to come from “Congress

itself,” Yellen, 54 F.4th at 354—not the agency. Even if Congress purported to give

HHS authority to set conditions, that does not solve the constitutional problem either.

After all, “the separation of powers does not depend on … whether ‘the encroached-

upon branch approves the encroachment.’” Free Enter. Fund v. Pub. Co. Acct. Over-

sight Bd., 561 U.S. 477, 497 (2010) (citation omitted). By delegating to HHS the

power to set conditions of its own choosing, Congress impermissibly “yield[ed] up

its own powers,” Clinton v. City of New York, 524 U.S. 417, 452 (1998) (Kennedy,

J., concurring), and allowed HHS to make an end-run around the “single, finely

wrought,” “step-by-step, deliberate and deliberative” lawmaking “process.” INS v.

Chadha, 462 U.S. 919, 951, 959 (1983). It cannot be that all Spending Clause prob-

lems can be averted by merely passing a statute allowing agencies to adopt whatever

after-the-fact conditions they want. That sweeping view not only would render the

Spending Clause—and this Circuit’s precedents interpreting it—toothless. It also

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would effectuate a standardless shift of massive lawmaking power to agencies the

nondelegation doctrine does not tolerate. See Tiger Lily, LLC v. United States Dep't

of Hous. & Urban Dev., 5 F.4th 666, 672 (6th Cir. 2021).

      In any event, courts generally cannot “uphold administrative action based on

reasons different from those given by the agency.” Japarkulova v. Holder, 615 F.3d

696, 701 (6th Cir. 2010) (amended opinion) (Chenery doctrine). Until litigation be-

gan, HHS never asserted that Section 1006 provides the condition that Tennessee

allegedly violated. When HHS began its review in January 2023, it stated that the

purpose of the review was “to ensure compliance with the requirements for non-

directive options counseling and referral” in the 2021 Rule, Jan. 25 Ltr., R.1-8,

PageID#187, which “defin[ed] what abortion-related activities were permissible”

considering Section 1008, 86 Fed. Reg. at 56145. After its review, HHS warned

Tennessee that its “policy for providing nondirective options counseling ... is not in

compliance with the Title X regulatory requirements.”             Mar. 1 Ltr., R.1-9,

PageID#189. HHS finally rescinded Tennessee’s funding because it determined that

“Tennessee is out of compliance with the Title X regulatory requirements.” Mar. 20

Ltr., R.1-11, PageID#193. That record makes it clear that HHS rescinded Tennes-

see’s funding because it believed that the State violated a regulatory—not statu-

tory—requirement. So the Court “may not accept appellate counsel’s post hoc ra-

tionalizations” that the statute rather than the regulation supplies the relevant

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spending condition that Tennessee allegedly violated. Burlington Truck Lines, Inc.

v. United States, 371 U.S. 156, 168 (1962) (citation omitted).

      The district court also erred by warning that, under Tennessee’s approach to

the Spending Clause, “significant parts of the federal grant system would vanish.”

Op., R.30, PageID#831. So long as “authorize[d] … to do so by statute,” FEC v.

Cruz, 596 U.S. 289, 301 (2022), agencies may enforce spending conditions that fol-

low clearly from the statute, as indicated by traditional tools of statutory meaning

like text, context, structure, and history, see Morrisey, 59 F.4th at 1148. This Court

has essentially recognized as much by acknowledging that agencies may by regula-

tion provide “implementation details,” Yellen, 54 F.4th at 353-54, even though it

may not create new conditions in areas of major policy significance, see id. at 354.

That harmonizes an agency’s condition-setting authority with its rulemaking author-

ity in contexts where Chevron does not apply. See Ohio, 87 F.4th at 769 (noting

uncertainty about whether Cheron will be overruled). Anyway, even if the Spending

Clause does limit an agency’s condition-setting authority, that is a feature of the

constitutional design—not a flaw. Cf. Cincinnati Soap Co. v. United States, 301

U.S. 308, 321 (1937) (explaining that the Appropriations Clause “was intended as a

restriction upon the disbursing authority of the Executive department”).

      Finally, the district court did not dispute that after-the-fact Spending Clause

conditions are unlawful. It instead rejected the argument that Tennessee lacked

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notice of the illegal-abortion-counseling-and-referral condition by remarking that

“the 2021 Rule was in place at the time Tennessee applied for and accepted Title X

funding in March 2022.” Op., R.30, PageID#829. But Tennessee’s argument is that

the 2021 Rule fails to disclose the condition with the clarity that Pennhurst requires.

Supra 28-32. Ohio supports that reading by noting HHS did not address how the

2021 Rule would apply in a post-Dobbs context or to States where abortion is illegal.

87 F.4th at 774 n.7. That Tennessee knew about that rule when it accepted Title X

funds does not support that it also knew it would be required to counsel and refer

women to receive abortions that are illegal under state law.

          B. The Rescindment Violates the APA.

      The Rescindment is a separate agency action, distinct from HHS’s promulga-

tion of the 2021 Rule. Because every final agency action gets fresh APA review,

the Rescindment must independently satisfy governing statutes, regulations, and ad-

ministrative-law limits. See Bennett v. Spear, 520 U.S. 154, 175 (1997). It falls

short on each front.

             1. The Rescindment Exceeds HHS’s Authority.

      An agency “literally has no power to act … unless and until Congress author-

izes it to do so by statute.” FEC, 596 U.S. at 301. Agencies are also bound to comply

with their own regulations. Wilson v. Comm’r of Soc. Sec., 378 F.3d 541, 545 (6th

Cir. 2004). Even if an agency has some interpretive authority under Chevron (for

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statutes) or Auer (for regulations), judicial deference is not reflexive. The agency’s

position still “must fall ‘within the bounds of reasonable interpretation.’” Kisor, 139

S. Ct. at 2416 (citation omitted). The Rescindment’s illegal-abortion-counseling-

and-referral condition flunks that standard, placing it outside HHS’s authority.

      a.     Title X. This Court concluded that Rust’s reading of Section 1008 still

governs, and required upholding HHS’s 2021 Rule under Chevron. Ohio, 87 F.4th

at 770. But this case is not a “naked attempt to relitigate” Rust or Ohio, Op., R.30,

PageID#833, because not even Chevron leeway permits HHS’s unprecedented leap

to require illegal abortion referrals and counseling here.3

      Rust and Ohio only considered facial challenges to rules interpreting Sec-

tion 1008. While the Supreme Court “revolutionized administrative law by … al-

lowing” such “facial, pre-enforcement challenges,” it did not foreclose parties’ “tra-

ditional[]” ability to “raise an as-applied challenge … in an enforcement proceed-

ing.” PDR Network, LLC v. Carlton & Harris Chiropractic, Inc., 139 S. Ct. 2051,

2060 (2019) (Kavanaugh, J., concurring in the judgment). When a facial challenge

fails, parties may still “bring as-applied challenges against any alleged unlawful ap-

plications.” Ass’n of Private Sector Colls. & Univs. v. Duncan, 681 F.3d 427, 442



3
 Tennessee reserves its right to revisit the issue of Chevron and Ohio’s reading of
Section 1008 of Title X in light of the Supreme Court’s forthcoming decisions in
Loper Bright Enters. v. Raimondo (No. 22-451) and Relentless, Inc. v. U.S. Dep’t of
Commerce (No. 22-1219).
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(D.C. Cir. 2012). That’s because a regulation can survive facial scrutiny if even one

circumstance “exists under which [it] would be valid,” but the same regulation may

be unlawful as applied otherwise. See Rust, 500 U.S. at 182-83 (citation omitted).

      The district court failed to appreciate this critical distinction between a facial

challenge to a rule, which involves only the rulemaking record, and a challenge to

an agency’s adjudication or enforcement, which is a discrete agency action that must

independently pass APA muster. Op., R.30, PageID#833. Rather than a facial attack

on the 2021 Rule, Tennessee challenges the Rescindment—HHS’s decision, in a

post-Dobbs world, to strip funds from a State that generally outlaws abortion. See

Br. of United States 7, 34-36, 40-41, Corner Post, Inc. v. Bd. of Governors of Fed.

Rsrv. Sys., No. 22-1008 (U.S.). That action must independently satisfy HHS’s stat-

utory authority. See Bennett, 520 U.S. at 175. Indeed, Ohio recognized exactly that,

explaining that the “impact of Dobbs” would be relevant to future HHS Title X fund-

ing decisions, because state laws criminalizing abortion are “undoubtedly an ‘im-

portant aspect’ of the question now.” 87 F.4th at 774 n.7. That language would

make no sense if the 2021 Rule perpetually insulated all of HHS’s abortion-related

actions. Thus, Tennessee may “pursue substantive objections” to the Rescindment,

“including claims that [HHS] lacked the statutory authority” for its post-Dobbs de-

cision to impose its counseling-and-referral condition despite abortion’s illegality in

the State. See Indep. Cmty. Bankers of Am. v. Bd. of Governors of Fed. Rsrv. Sys.,

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195 F.3d 28, 34 (D.C. Cir. 1999). And HHS lacks that authority.

      b. Section 1008 directs that no program funds “shall be used in programs

where abortion is a method of family planning.” 42 U.S.C. § 300a-6. Tennessee

preserves its argument that the best reading of that provision, in light of its text,

context, and history, is that it absolutely bars HHS from conditioning Title X funding

on grantees’ counseling or referring for abortion procedures. But for now, this Court

need only conclude that HHS’s action of mandating counseling and referrals for il-

legal abortion procedures is a new step not salvaged by Chevron or Rust.

      For starters, deference applies only to positions agencies “promulgate[] in the

exercise of th[eir] authority” to “make rules carrying the force of law.” Carter v.

Welles-Bowen Realty, Inc., 736 F.3d 722, 727 (6th Cir. 2013) (citation omitted).

And the Rescindment came via a one-off letter from HHS, not a “regulation or for-

mal adjudication,” making its view that Title X permits HHS to mandate counseling

and referrals for illegal abortions ineligible for deference. Nat’l Wildlife Fed’n v.

Sec’y of U.S. Dep’t of Transp., 960 F.3d 872, 880 (6th Cir. 2020). The arbitrary and

capricious nature of the Rescindment, infra 46-52, further ensures it “receives no

Chevron deference.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016).

      Even if deference doctrines applied, HHS flunks them. To stand, HHS’s po-

sition still “must fall ‘within the bounds of reasonable interpretation.’” Kisor, 139

S. Ct. at 2415-16 (citation omitted).      But the Rescindment’s illegal-abortion-

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counseling-and-referral condition is “utterly unreasonable and thus impermissible”

at Chevron’s second step. Goldstein v. SEC, 451 F.3d 873, 881 (D.C. Cir. 2006).

Title X only funds grantees that offer “a broad range of acceptable … family plan-

ning methods.” 42 U.S.C. § 300(a) (emphasis added). There is nothing “acceptable”

about grantees counseling and referring for illegal abortions. See, e.g., Acceptable,

Cambridge Dictionary (“able to be agreed to or approved of”), http://ti-

nyurl.com/2tbunrt2; Acceptable, Black’s Law Dictionary (11th ed. 2019) (“capable,

worthy, and sure of being favorably received”). HHS below suggested that “ac-

ceptable” refers only to a service’s “medical suitability,” but did not define that term,

source it in the statute, or explain why a procedure Tennessee bans would be medi-

cally suitable. PI Resp., R.26, PageID#375.

       Other statutory limits on HHS’s power to issue abortion mandates highlight

the impermissibility of its condition here. Congress prohibited HHS from forcing

individual state employees to participate in abortion-related activities. 42 U.S.C.

§ 300a-7(b)(2)(B). Other provisions are of a piece. See Consolidated Appropria-

tions Act, 2021, Public Law 116-260, Div. H, section 507(d) (2020) (Weldon

Amendment). If HHS cannot compel individuals to participate in abortions, surely

it cannot force an entire state program to do so contrary to state law. HHS’s re-

sponse—that there is no Title X or other bar on an approach that would “coopt the

abortion policies of entire state[s],” PI Resp., R.26, PageID#375—indicts the

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    impermissibility of its illegal-abortion mandate and would generate anti-comman-

    deering problems, see Murphy v. NCAA, 584 U.S. 453, 476-77 (2018).

          Title X’s history provides more “important … context.” United States v.

    Hansen, 143 S. Ct. 1932, 1943 (2023). When Congress passed Title X, all but four

    States prohibited elective abortions. See Roe, 410 U.S. at 140 n.37. HHS’s position

    thus means that Congress authorized substantial “formula grants to States,” 42

    U.S.C. § 300a, all while silently empowering HHS to deny funding to nearly every

    State based on their abortion laws. This head-scratching outcome “underscores the

    implausibility of the Government’s interpretation.” Van Buren v. United States,

    141 S. Ct. 1648, 1661 (2021).

         Several other canons and principles confirm HHS lacks statutory authority to

rescind Tennessee’s funds. First, the major-questions doctrine means HHS needed

“clear congressional authorization” before taking the economically and politically

significant step of requiring a State to refer and counsel for illegal abortions in a

program involving some $263 million in annual grants. West Virginia, 597 U.S. at

723.4 Because “§ 1008 is ambiguous,” it cannot provide the clear authority required

to sustain this seismic policy shift. See Ohio, 87 F.4th at 770. Second, HHS similarly




4
  Office of Population Affairs, Fiscal Year 2023 Title X Service Grant Awards,
https://opa.hhs.gov/grant-programs/title-x-service-grants/current-title-x-service-
grantees/fy2023-title-X-service-grant-awards (last visited Apr. 5, 2024).
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lacks the “clear statement” it needs before invading a “core aspect of state sover-

eignty” like Tennessee’s prerogative over the health and welfare of its citizens.

Yellen, 54 F.4th at 354. And because the Rescindment collides with the Spending

Clause and its clear-statement rule, supra 19-32, constitutional avoidance principles

undermine HHS’s position. Clark v. Martinez, 543 U.S. 371, 381-82 (2005).

      Comparing Tennessee to 1832 South Carolina, the district court misunder-

stood this argument as asserting a right to “nullify a federal agency’s prior interpre-

tation of a statute.” Op., R.30, PageID#834 n.10. Tennessee’s argument is instead

that Title X does not authorize HHS’s unprecedented action to strip a State’s funds

for failing to counsel and refer for illegal abortions. The facial validity of the 2021

Rule does not justify a different outcome, including because HHS did not justify its

pre-Dobbs referral mandate as applied to post-Dobbs illegal abortions. See PDR

Network, 139 S. Ct. at 2060 (Kavanaugh, J., concurring in the judgment).

      HHS Regulations. HHS’s Rescindment also conflicts with at least two other

HHS regulations, violating “an elemental principle of administrative law” that

agencies must follow their own rules. Wilson, 378 F.3d at 545.

      First, Title X programs must ensure that “services [are] performed under the

direction of a clinical services provider, with services offered within their scope of

practice and allowable under state law.” 42 C.F.R. § 59.5(b)(6) (emphasis added).

Tennessee’s position, by ensuring Title X providers remain within the “scope of

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allowable practice under Tennessee law,” Feb. 13 Ltr., R.1-3, PageID#98, reason-

ably gives credence to this state-law caveat. HHS’s Rescindment runs over it.

      The district court disagreed based on the “plain meaning” of the regulation,

which it divined from the regulation’s purpose rather than its text. See Op., R.30,

PageID#834, 838-40 (holding that Auer deference is unnecessary). In particular,

the district court asserted that the phrase “allowable under state law” only relates to

“who specifically may serve” as Title X “clinical services provider[s],” but “has no

relation to … the services being provided.” Id. at PageID#840 (citing 86 Fed. Reg.

at 56163-64) (emphases in original). But the plain text of the regulation states oth-

erwise, and no provider may perform illegal abortion services in Tennessee.

      Second, the Rescindment conflicts with the requirement that grantees

“[p]rovide for coordination and use of referrals and linkages [with other healthcare

providers], who are in close physical proximity to the Title X site, when feasible.…”

42 C.F.R. § 59.5(b)(8). This text sets two limits on referrals: (i) the referred-to pro-

vider must be “in close physical proximity to the Title X site,” and (ii) the referral

only needs to occur “when feasible.” Id. Yet HHS’s only solution for enabling

Tennessee’s compliance is for providers to refer and counsel patients to receive abor-

tions out of State. Mar. 20 Ltr., R.1-11, PageID#195. It is not feasible—i.e.,




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“reasonable” or “practica[l]” to expect5—for Tennessee’s Title X providers to refer

women for procedures that are state crimes, let alone in a cross-country fashion.

        The district understood 42 C.F.R. § 59.5(b)(8) to always require referrals,

with the feasibility requirement being only a suggestion for where those referrals

should occur. Op., R.30, PageID#837. That misreads the regulation. In the depend-

ent clause “who are in close physical proximity to the Title X site,” the “who” spe-

cifically relates to the immediately preceding list of healthcare providers and health-

service projects. 42 C.F.R. § 59.5(b)(8); Antonin Scalia & Bryan A. Garner, Read-

ing Law: The Interpretation of Legal Texts 144 (2012). However, the “when feasi-

ble” requirement, which comes after that dependent clause set off by commas, mod-

ifies grantees’ general obligations to “provide for coordination and use of referrals

and linkages” to those providers. See 42 C.F.R. § 59.5(b)(8).

        Thus, the feasibility requirement does not apply only to referrals in close phys-

ical proximity. This reading retains the HHS’s “inten[t] to expand access to health

services,” Op., R.30, PageID#838 (emphasis in original), while recognizing it is not

“feasible” for Title X providers to make referrals for illegal procedures, whether near

or far. The district court’s counter interpretation would require providers to always

refer patients for any procedure—even to far flung locations, against the provider’s




5
    “Feasibility,” Black’s Law Dictionary 17c (11th ed. 2019).
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medical judgment, and in a manner that would spawn new compliance challenges

and health risks. See id. at PageID#838-39; infra 47-49.

             2. The Rescindment Is Arbitrary and Capricious.

      Agency actions must have a “rational connection between the facts found and

the choice made,” considering all “important aspect[s] of the problem.” Motor Ve-

hicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983). The Re-

scindment falls short in ways Ohio foresaw.

      Failure to Address Important Regulatory Problems. After Dobbs, state laws

prohibiting abortion are “undoubtedly an ‘important aspect’” of HHS’s regulatory

problem. Ohio, 87 F.4th at 774 n.7. But the Rescindment did not grapple with the

myriad problems implicated by its illegal-abortion condition.

      For example, Tennessee outlaws “deliver[ing]” most abortions, undercutting

a key justification for the 2021 Rule, see Ohio, 87 F.4th at 773 (quoting 86 Fed. Reg.

at 56,154), and disproving that the 2021 Rule remains free of “any federalism impli-

cations,” 86 Fed. Reg. at 56,168. Whatever merit that claim had when HHS prom-

ulgated the rule, its application here undermines Tennessee’s core sovereign inter-

ests in protecting fetal life, see Dobbs, 597 U.S. at 262, 289. But HHS ignored this

intrusion on Tennessee’s sovereignty before requiring it to refer for abortions.

      HHS’s terse out-of-state referral “solution” also ignores problems of its own

making. Not all out-of-state referrals are medically appropriate and not all women

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have the time and means to travel.6 HHS also ignores the burdens that out-of-state

referrals pose for Tennessee hospitals and emergency rooms that will bear the costs

of caring for patients first treated by far-flung physicians. See, e.g., All. for Hippo-

cratic Med. v. FDA, 78 F.4th 210, 230-32 (5th Cir. 2023) (reciting evidence on trend

of women receiving out-of-state abortions then requiring emergency care in States

where abortion is illegal). Nor did the Rescindment account for the “greatly in-

creased compliance costs” of monitoring state-by-state abortion laws to identify le-

gal referrals. 86 Fed. Reg. at 56,145 (citing similar costs as a reason for rescinding

2019 Rule). Or the additional legal problems with a regime reliant upon provision

of abortions by “telehealth” and mail-shipped medications that Tennessee and fed-

eral law forbid. Mar. 1 Ltr., R.1-9, PageID#190; supra 12.

      The Rescindment’s specific effect on Tennesseans is even more acute. HHS

rescinded the 2019 Rule based on the view that the rule drove out Title X grantees

and created “negative public health consequences.” See, e.g., 86 Fed. Reg. at

56,146-48. HHS’s action here likewise denies funding to “the only agency” HHS

declared capable of administering Title X “without a gap in services in the state.”

Program Review, R.1-1, PageID#36. Yet the Rescindment did not address the



6
  Cf., e.g., Br. of Cal. Women’s Law Ctr. as Amicus Curiae 30, Dobbs, 142 S. Ct.
2228 (noting that “many women cannot afford to return to” out-of-state providers
“for follow-up appointments,” and may “instead have to self-treat any after-effects
or seek care at an emergency facility”).
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potential gaps in care it would create.        See generally Mar. 20 Ltr., R.1-11,

PageID#193-95. Nor does HHS’s action square with its stated goal of “increas[ing]

[Title X] participation by states,” 86 Fed. Reg. at 56,168, as its similar defending of

Oklahoma’s Title X program confirms, Oklahoma v. HHS, 5:23-cv-01052 (W.D.

Okla.), Dkt. 1.

      The district court permitted HHS to sidestep these defects since the 2021 Rule

previously required abortion referrals. Op., R.30, PageID#843. But this Court in-

structed that “[t]he impact of Dobbs on the Title X program is undoubtedly an ‘im-

portant aspect,’” that now must be considered. Ohio, 87 F.4th at 774 n.7. And

HHS’s Rescindment is a distinct agency action that must survive fresh APA scrutiny.

Supra 38-40. The argument is not that Dobbs required HHS to “reconsider whether

it should have promulgated the 2021 Rule in the first place.” Op., R.30, PageID#842

(citation omitted). Rather, because reasoned decision-making requires accounting

for important aspects at the time a decision is made, HHS needed to consider

Dobbs’s impact given its relevancy to the soundness and justification of HHS’s Re-

scindment. See Ohio, 87 F.4th at 774 n.7; State Farm, 463 U.S. at 43.

      Unlawful Position Switch. An agency must “provide [a] reasoned explana-

tion” for any switch in policy, which “ordinarily demand[s] that it display an aware-

ness that it is changing position[s].” FCC v. Fox Telev. Stations, Inc., 556 U.S. 502,

515 (2009) (emphasis in original). The Rescindment came just months after HHS

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approved Tennessee’s Title X program with full awareness the State’s post-Dobbs

policy that “[n]o referrals for abortion are made.”        Program Review, R.1-1,

PageID#56. But HHS never explained its 180-degree pirouette.

      Before HHS’s program review, Tennessee implemented its new policy to refer

and counsel only for “options that are legal in the State of Tennessee.” Amosun

Decl., R.1-5, PageID#132-33, 135. That meant referrals for partial-birth, pre-wait-

ing-period, and post-viability abortions were immediately prohibited. Tenn. Code

Ann. §§ 39-15-201, -202, -209. And OPA recognized that all elective abortions

would become unavailable by August 2022. Program Review, R.1-1, PageID#63.

Thus, OPA acknowledged that under Tennessee’s program “[n]o referrals for abor-

tion are made.” Id. at PageID#56, 59.

      Even so, OPA found that Tennessee was “in compliance,” complementing the

State on it “wonderful review.” Oct. 19 Email, R.1-2, PageID#96. OPA’s only note

on abortion counseling and referrals was to observe that one Tennessee subgrantee

had “out-of-state abortion referral resources.” Program Review, R.1-1, Page ID#63.

And while OPA requested updates after Tennessee’s trigger law took effect, at no

point did it suggest that the 2021 Rule “required [Tennessee] to refer women for [all]

abortion[s] after its abortion ban went into effect.” Op., R.30, PageID#846 n.17.

      That requirement only appeared after OPA undertook a second audit. Jan. 25

Ltr., R.1-8, PageID#187. At that point, OPA claimed that only referring and

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counseling for options that are legal in Tennessee violated the 2021 Rule. Mar. 20

Ltr., R.1-11, PageID#195. But OPA never acknowledged its earlier contrary posi-

tion nor explained its shift, as the APA required. See Fox, 556 U.S. at 515.

      The district court held otherwise based on a faulty understanding of the factual

setting and nature of Tennessee’s program review. According to the district court,

at the time of the July program review, “abortion was still legal in Tennessee.” Op.,

R.30, PageID#846. But that is incorrect: Even before the review, Tennessee’s new

policy excluded referrals for illegal partial-birth, pre-waiting-period, and post-via-

bility abortions, to name a few. Tenn. Code Ann. §§ 39-15-201, -202, -209. Even

with the then-current abortion-law restrictions, OPA approved Tennessee’s pro-

gram. And OPA knew Tennessee’s trigger law would make the policy even more

constrictive in one month’s time. Program Review, R.1-1, PageID#63.

      Thus, while not suggesting that state abortion laws would modify the 2021

Rule, Op., R.30, PageID#844, OPA’s initial approval of Tennessee’s program did

suggest that it would make exceptions for such laws, id. at PageID#846. Whatever

OPA’s general FAQ guidance says, id. at PageID#844, OPA’s later and specific ap-

proval of Tennessee’s program via an October 2022 report trumps. OPA’s unex-

plained position-switch just months later was unlawful. Fox, 556 U.S. at 515.

      Disregard of Reliance Interests. The Rescindment also overlooked Tennes-

see’s legitimate reliance interests. For 50 years, Tennessee has received Title X

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funding, developing a “leading” program that serves nearly 40,000 Tennesseans.

Program Review, R.1-1, PageID#36. Over those five decades, Tennessee has re-

tained significant autonomy to administer its Title X program according to state laws

regulating the medical profession and medical ethics. The Rescindment—by requir-

ing that Tennessee ignore its criminal code and contradict its sovereign interests—

upended Tennessee’s “legitimate reliance” on running a Title X program consistent

with state law. Regents, 140 S. Ct. at 1913 (quotations omitted).

      The district court rejected these reliance interests, reasoning that “HHS never

changed its position as to what the 2021 Rule required.” Op., R.30, PageID#848.

But States could not ban elective abortions before Dobbs, so the Rescindment nec-

essarily provided a new answer to a question the 2021 Rule nowhere confronted.

Ohio, 87 F.4th 774 n.7. And that answer—that States must ignore their own law—

defies the agency’s prior practice. Thus, the district court erred in considering only

Tennessee’s reliance on HHS’s initial program approval. Id. at PageID#849. Ten-

nessee had likewise counted on HHS maintaining its “longstanding polic[y]” re-

specting state laws regulating medical professionals. Encino, 579 U.S. at 222. Re-

neging on that 50-year promise by pulling Tennessee’s grant—risking decades of

investments, relationships, and goodwill—merited a “more detailed justification.”

Fox, 556 U.S. at 515.



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            3. The Rescindment Is Procedurally Invalid.

      Rules that “create legal effects” rather than explain “pre-existing legal obliga-

tions” must undergo notice-and-comment. Nat’l Council for Adoption v. Blinken, 4

F.4th 106, 114 (D.C. Cir. 2021) (citation omitted). The illegal-abortion condition

imposed by the Rescindment is such a “legislative rule.” Id. at 109; see Tennessee

v. Dep’t of Ed., 615 F. Supp. 3d 807, 839-40 (E.D. Tenn. 2022) (detailing the quali-

ties of legislative rules), appeal pending, 6th Cir. No. 22-5807. So new “APA rule-

making [was] required,” but it never came. Shalala v. Guernsey Mem‘l Hosp., 514

U.S. 87, 100 (1995). This procedural ground is an independent basis to invalidate

the Rescindment.

      In dismissing this argument, Op., R.30, PageID#850, the district court again

failed to appreciate that the Rescindment is an application of the 2021 Rule that

imposes new requirements. See Ohio, 87 F.4th at 774 n.7. Nor did HHS’s post-

Dobbs announcement of its new illegal-abortion condition solve the problem. That

FAQ document is only informal guidance, not a notice-and-comment rule, so the

Rescindment’s new approach remains procedurally void. See 5 U.S.C. § 706(2)(D);

see also Tenn. Hosp. Ass’n v. Azar, 908 F.3d 1029, 1042 (6th Cir. 2018) (requiring

notice-and-comment when agency action is “inconsistent with ... existing regula-

tions”).



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II.   Tennessee Faces Irreparable Harm Absent This Injunction.

      The district court recognized that Tennessee will suffer “imminent and irrep-

arable harm” absent injunctive relief. Op., R.30, PageID#852. Yet it denied relief

because, in its view, Tennessee would suffer “only a small degree of irreparable

harm.” Id. at PageID#855. That is wrong. Without injunctive relief, Tennessee will

suffer severe financial, reputational, and sovereign harms.

      First, the Rescindment will cause Tennessee severe financial losses that it can-

not later recover. Tennessee lost $7 million in Title X funds last year, it will lose

another $7 million this summer, and it will continue hemorrhaging those funds until

the HHS’s unlawful policy is enjoined. HHS itself has said that Tennessee cannot

recover any disbursed grant funds—confirming irreparable harm. PI Opp’n, R.26,

PageID#389; cf. Kentucky v. Biden, 57 F.4th 545, 555 (6th Cir. 2023). The Rescind-

ment creates even more fiscal harm by eliminating sizeable price discounts that Ten-

nessee enjoyed when buying family planning drugs with Title X funds. Amosun

Decl., R.1-5, PageID#134. Those financial losses are irreparable, as this Court has

already held in the context of lost Title X funding. Ohio, 87 F.4th at 782-83.

      The district court trivialized Tennessee’s financial injury by describing the $7

million loss as “relatively minor” because it is only “a very small fraction” of the

total federal funding TDH receives. Op., R.30, PageID#852. But that $7 million

loss far surpasses the $1.8 million in Title X funds this Court found adequate to

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justify injunctive relief in Ohio’s suit against HHS. Ohio, 87 F.4th at 782-83. And

that $7 million does not include the tens of millions in funds that Tennessee will lose

over the course of this litigation because it refuses to follow the unlawful condition.

Whatever the total federal funding, the loss of tens of millions of dollars is “signifi-

cant.” Op., R.30, PageID#853 n.24.

      Second, the Rescindment threatens the viability of Tennessee’s Title X pro-

gram. There is no guarantee the State will fill the funding gap left by the Rescind-

ment. Supp. Amosun Decl., R.21-1, PageID#335. And if the State does not, its Title

X program ends, erasing decades of building a “leading” program, id., along with

the goodwill of communities that know and rely on its services, see Hall v. Edge-

wood Partners Ins. Ctr., Inc., 878 F.3d 524, 530 (6th Cir. 2017).

      The district court rejected this argument by suggesting that there is “no evi-

dence that the legislature is considering cutting funding for the Title X project.” Op.,

R.30, PageID#853. That speculation misses the broader context. The unlawful Re-

scindment forces Tennessee either to abandon its Title X program (an irreparable

harm) or divert limited taxpayer funds from other worthwhile projects (an irrepara-

ble harm). So even if the court is right that the Title X program will likely survive,

the diversion of funds necessary to fill the gap also causes irreparable harm. Cf.

Cnty. of Santa Clara v. Trump, 250 F. Supp. 3d 497, 537 (N.D. Cal. 2017).

      Third, the Rescindment will cause irreparable reputational harm that

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materially affects Tennessee’s ability to secure future federal grants. HHS termi-

nated Tennessee’s Title X funding because it believes the State violated material

terms of its federal grant. That unlawful termination brands Tennessee with breach-

ing the terms of the agreement, which is “precisely” the type of reputation-hamper-

ing pronouncement that “constitute[s] irreparable harm.” ACT, Inc. v. Worldwide

Interactive Network, Inc., 46 F.4th 489, 503-04 (6th Cir. 2022). That matters be-

cause federal law requires HHS to report the violation to the federal grantee clear-

inghouse, which threatens Tennessee’s “ability to obtain [any] future Federal fund-

ing.” Mar. 1 Ltr., R.1-9, PageID#190.

      The district court dismissed that reputational injury because it believed Ten-

nessee never proved the harm was “likely to occur” or “the extent of the harm if it

were to occur.” Op., R.30, PageID#853. But, as the court itself noted, federal law

requires HHS to report Tennessee’s noncompliance to the public database. Id. at

PageID#854 n.25. So unless the Court believes that HHS intends to violate federal

law, the reputational damage is “likely to occur.” And while Tennessee did not

quantify “the extent of [that] harm,” id. at PageID#853, that is because reputational

injuries “are difficult to quantify monetarily,” ACT, Inc., 46 F.4th at 503-04, which

is why the Court should grant relief.

      Fourth, HHS’s interference with Tennessee’s “sovereign interest” in setting

its own abortion laws is a “form of irreparable injury.” Maryland v. King, 567 U.S.

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1301, 1303 (2012) (Roberts, C.J., in chambers). HHS penalizes Tennessee for re-

fusing to promote abortion procedures that the State has outlawed, which impairs

Tennessee’s sovereign decision about how to regulate abortions. The court’s treat-

ment of the harm to those sovereign interests discounts the federalism interests at

stake. Tennessee adopted a policy that promotes preserving fetal life. Tenn. Code

Ann. § 39-15-213. HHS penalizes Tennessee for refusing to act against those poli-

cies and encourage procedures that are illegal under state law.

III.   An Injunction Will Not Harm HHS or the Public Interest.

       This Court “balance[s] the competing claims of injury and must consider the

effect on each party of the granting ... of the requested relief.” Winter, 555 U.S. at

24. With Tennessee’s strong likelihood of success and impending irreparable harm,

the defendants “fac[e] a high hurdle” in showing the last factors “warrant withhold-

ing relief.” Biden, 57 F.4th at 556. They cannot clear it.

       HHS will not be harmed by the grant of a preliminary injunction. HHS la-

beled Tennessee’s Health Department as “the only agency” capable of administer

Title X funds in the state with integrity. Program Review, R.1-1, PageID#36. It is

thus HHS’s action that hampers the public’s interest by stripping many of family

planning services, supra 12, and generating new public-health risks HHS nowhere

addressed, supra 47-49. HHS’s aim of promoting abortion access through Title X

cannot outweigh these considerations, given Title X’s limit on use of funds for

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abortion purposes. 42 U.S.C. § 300a-6. Regardless, without HHS’s “power to reg-

ulate” using its interpretation, this Court cannot “weigh [the] tradeoffs” of HHS’s

pursuit of “desirable ends.” OSHA, 595 U.S. at 120. Instead, “the public’s true

interest lies in a correct application” of the law. Kentucky v. Biden, 23 F.4th 585,

612 (6th Cir. 2022).

                                 CONCLUSION

       This Court should enjoin HHS from enforcing its new illegal-abortion-coun-

seling-and-referral condition on Tennessee and from withholding Tennessee’s Title

X grant disbursements.

                                  Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify, in accordance with Rule 32(g) of the Federal Rules of Appel-

late Procedure, that this brief complies with the type-volume requirements and con-

tains 12,931 words. See Fed. R. App. P. 27(d)(2)(A).

      I further certify that this brief complies with the typeface requirements of Fed-

eral Rule 32(a)(5) and the type-style requirements of Federal Rule 32(a)(6) because

it has been prepared in a proportionally spaced typeface using Microsoft Word in 14-

point Times New Roman font.


                                  s/ Whitney Hermandorfer
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                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was
served via the Court’s electronic filing system on this 5 day of April 2024 on the
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               DESIGNATION OF COURT DOCUMENTS
   The following record documents are relevant to this appeal:

Docket                                                                  Page ID
Entry                           Description                             #
 No.
   1      Complaint                                                     1-32
  1-1     TN Program Review Report                                      33-95
  1-2     Oct. 19, 2022 OPA Email.                                      96-97
  1-3     Feb. 13 TDoH Ltr. to OPA.                                     98-101
  1-4     Goodwin Declaration w Exhibits.                               102-130
  1-5     Amosun Declaration w Exhibits.                                131-160
  1-6     Dobbs FAQ.                                                    161-169
  1-7     Mar. 2022 Notice of Award.                                    170-186
  1-8     Jan. 25 OPA Ltr. to TDoH.                                     187-188
  1-9     Mar. 1 OPA Ltr. to Tenn. Dep’t of Health.                     189-191
 1-10     Mar. 13 Tenn. Dep’t of Health Ltr.                            192
 1-11     Mar. 20 OPA Ltr. to Tenn. Dep’t of Health.                    193-195
 1-12     Mar. 2023 Notice of Award.                                    196-199
 1-17     OPA May 30 Email.                                             213-214
 1-18     Oliver Declaration with Attachment.                           215-221
  20      Tennessee’s Motion for Preliminary Injunction                 292-296
          Memorandum in Support of Motion for Preliminary In-           299-332
  21
          junction
          Memorandum in Support of Motion for Preliminary In-           333-336
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          junction Attachment #1 Supplemental Amosun Declaration
          Defendants’ Opposition to Motion for Preliminary Injunc-      361-392
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          tion
          Tennessee’s Reply in Support of Motion for Preliminary        393-409
  27
          Injunction
          Memorandum Opinion Denying Motion for Preliminary             815-857
  30
          Injunction
          Tennessee’s Notice of Appeal from Order Denying Prelim-       858-859
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          inary Injunction
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                           ADDENDUM
For the Court’s convenience, this addendum includes:
       42 U.S.C. § 300, et seq. (“Title X”)
       42 C.F.R. § 59.1, et seq. (“Title X Implementing Regulations”)




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               STATUTORY & REGULATORY PROVISIONS

  Title X of the Public Health Service Act, 42 U.S.C. § 300, et seq. (“Title X”)

§ 300 Project grants and contracts for family planning services

(a) Authority of Secretary

The Secretary is authorized to make grants to and enter into contracts with public
or nonprofit private entities to assist in the establishment and operation of volun-
tary family planning projects which shall offer a broad range of acceptable and ef-
fective family planning methods and services (including natural family planning
methods, infertility services, and services for adolescents). To the extent practical,
entities which receive grants or contracts under this subsection shall encourage
familiy1 participation in projects assisted under this subsection.

(b) Factors determining awards; establishment and preservation of rights of
local and regional entities

In making grants and contracts under this section the Secretary shall take into ac-
count the number of patients to be served, the extent to which family planning ser-
vices are needed locally, the relative need of the applicant, and its capacity to make
rapid and effective use of such assistance. Local and regional entities shall be as-
sured the right to apply for direct grants and contracts under this section, and the
Secretary shall by regulation fully provide for and protect such right.

(c) Reduction of grant amount

The Secretary, at the request of a recipient of a grant under subsection (a), may re-
duce the amount of such grant by the fair market value of any supplies or equip-
ment furnished the grant recipient by the Secretary. The amount by which any such
grant is so reduced shall be available for payment by the Secretary of the costs in-
curred in furnishing the supplies or equipment on which the reduction of such grant
is based. Such amount shall be deemed as part of the grant and shall be deemed to
have been paid to the grant recipient.

(d) Authorization of appropriations

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For the purpose of making grants and contracts under this section, there are author-
ized to be appropriated $30,000,000 for the fiscal year ending June 30, 1971;
$60,000,000 for the fiscal year ending June 30, 1972; $111,500,000 for the fiscal
year ending June 30, 1973, $111,500,000 each for the fiscal years ending June 30,
1974, and June 30, 1975; $115,000,000 for fiscal year 1976; $115,000,000 for the
fiscal year ending September 30, 1977; $136,400,000 for the fiscal year ending
September 30, 1978; $200,000,000 for the fiscal year ending September 30, 1979;
$230,000,000 for the fiscal year ending September 30, 1980; $264,500,000 for the
fiscal year ending September 30, 1981; $126,510,000 for the fiscal year ending
September 30, 1982; $139,200,000 for the fiscal year ending September 30, 1983;
$150,830,000 for the fiscal year ending September 30, 1984; and $158,400,000 for
the fiscal year ending September 30, 1985.

§ 300a. Formula grants to States for family planning services

(a) Authority of Secretary; prerequisites

The Secretary is authorized to make grants, from allotments made under subsection
(b), to State health authorities to assist in planning, establishing, maintaining, coor-
dinating, and evaluating family planning services. No grant may be made to a State
health authority under this section unless such authority has submitted, and had ap-
proved by the Secretary, a State plan for a coordinated and comprehensive program
of family planning services.

(b) Factors determining amount of State allotments

The sums appropriated to carry out the provisions of this section shall be allotted to
the States by the Secretary on the basis of the population and the financial need of
the respective States.

(c) “State” defined

For the purposes of this section, the term “State” includes the Commonwealth of
Puerto Rico, the Northern Mariana Islands, Guam, American Samoa, the Virgin Is-
lands, the District of Columbia, and the Trust Territory of the Pacific Islands.

(d) Authorization of appropriations

For the purpose of making grants under this section, there are authorized to be ap-
propriated $10,000,000 for the fiscal year ending June 30, 1971; $15,000,000 for
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the fiscal year ending June 30, 1972; and $20,000,000 for the fiscal year ending
June 30, 1973.
§ 300a-1. Training grants and contracts; authorization of appropriations

(a) The Secretary is authorized to make grants to public or nonprofit private enti-
ties and to enter into contracts with public or private entities and individuals to pro-
vide the training for personnel to carry out family planning service programs de-
scribed in section 300 or 300a of this title.

(b) For the purpose of making payments pursuant to grants and contracts under this
section, there are authorized to be appropriated $2,000,000 for the fiscal year end-
ing June 30, 1971; $3,000,000 for the fiscal year ending June 30, 1972; $4,000,000
for the fiscal year ending June 30, 1973; $3,000,000 each for the fiscal years end-
ing June 30, 1974 and June 30, 1975; $4,000,000 for fiscal year ending 1976;
$5,000,000 for the fiscal year ending September 30, 1977; $3,000,000 for the fiscal
year ending September 30, 1978; $3,100,000 for the fiscal year ending September
30, 1979; $3,600,000 for the fiscal year ending September 30, 1980; $4,100,000
for the fiscal year ending September 30, 1981; $2,920,000 for the fiscal year end-
ing September 30, 1982; $3,200,000 for the fiscal year ending September 30, 1983;
$3,500,000 for the fiscal year ending September 30, 1984; and $3,500,000 for the
fiscal year ending September 30, 1985.

§ 300a-2. Conduct, etc., of research activities

The Secretary may—

      (1) conduct, and

      (2) make grants to public or nonprofit private entities and enter into con-
      tracts with public or private entities and individuals for projects for,

research in the biomedical, contraceptive development, behavioral, and program
implementation fields related to family planning and population.

§ 300a-3. Informational and educational materials development grants and
contracts; authorization of appropriations

(a) The Secretary is authorized to make grants to public or nonprofit private enti-
ties and to enter into contracts with public or private entities and individuals to as-
sist in developing and making available family planning and population growth
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information (including educational materials) to all persons desiring such infor-
mation (or materials).

(b) For the purpose of making payments pursuant to grants and contracts under this
section, there are authorized to be appropriated $750,000 for the fiscal year ending
June 30, 1971; $1,000,000 for the fiscal year ending June 30, 1972; $1,250,000 for
the fiscal year ending June 30, 1973; $909,000 each for the fiscal years ending
June 30, 1974, and June 30, 1975; $2,000,000 for fiscal year 1976; $2,500,000 for
the fiscal year ending September 30, 1977; $600,000 for the fiscal year ending
September 30, 1978; $700,000 for the fiscal year ending September 30, 1979;
$805,000 for the fiscal year ending September 30, 1980; $926,000 for the fiscal
year ending September 30, 1981; $570,000 for the fiscal year ending September
30, 1982; $600,000 for the fiscal year ending September 30, 1983; $670,000 for
the fiscal year ending September 30, 1984; and $700,000 for the fiscal year ending
September 30, 1985.

§ 300a-4. Grants and contracts

(a) Promulgation of regulations governing execution; amount of grants

Grants and contracts made under this subchapter shall be made in accordance with
such regulations as the Secretary may promulgate. The amount of any grant under
any section of this subchapter shall be determined by the Secretary; except that no
grant under any such section for any program or project for a fiscal year beginning
after June 30, 1975, may be made for less than 90 per centum of its costs (as deter-
mined under regulations of the Secretary) unless the grant is to be made for a pro-
gram or project for which a grant was made (under the same section) for the fiscal
year ending June 30, 1975, for less than 90 per centum of its costs (as so deter-
mined), in which case a grant under such section for that program or project for a
fiscal year beginning after that date may be made for a percentage which shall not
be less than the percentage of its costs for which the fiscal year 1975 grant was
made.

(b) Payment of grants

Grants under this subchapter shall be payable in such installments and subject to
such conditions as the Secretary may determine to be appropriate to assure that
such grants will be effectively utilized for the purposes for which made.

(c) Prerequisites; “low-income family” defined
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A grant may be made or contract entered into under section 300 or 300a of this ti-
tle for a family planning service project or program only upon assurances satisfac-
tory to the Secretary that--

      (1) priority will be given in such project or program to the furnishing of such
      services to persons from low-income families; and
      (2) no charge will be made in such project or program for services provided
      to any person from a low-income family except to the extent that payment
      will be made by a third party (including a government agency) which is au-
      thorized or is under legal obligation to pay such charge.

For purposes of this subsection, the term “low-income family” shall be defined by
the Secretary in accordance with such criteria as he may prescribe so as to insure
that economic status shall not be a deterrent to participation in the programs as-
sisted under this subchapter.

(d) Suitability of informational or educational materials

      (1) A grant may be made or a contract entered into under section
      300 or 300a-3 of this title only upon assurances satisfactory to the Secretary
      that informational or educational materials developed or made available un-
      der the grant or contract will be suitable for the purposes of this subchapter
      and for the population or community to which they are to be made availa-
      ble, taking into account the educational and cultural background of the indi-
      viduals to whom such materials are addressed and the standards of such pop-
      ulation or community with respect to such materials.

      (2) In the case of any grant or contract under section 300 of this title, such
      assurances shall provide for the review and approval of the suitability of
      such materials, prior to their distribution, by an advisory committee estab-
      lished by the grantee or contractor in accordance with the Secretary's regula-
      tions. Such a committee shall include individuals broadly representative of
      the population or community to which the materials are to be made availa-
      ble.

§ 300a-5. Voluntary participation by individuals; participation not prerequi-
site for eligibility or receipt of other services and information

The acceptance by any individual of family planning services or family planning or
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population growth information (including educational materials) provided through
financial assistance under this subchapter (whether by grant or contract) shall be
voluntary and shall not be a prerequisite to eligibility for or receipt of any other
service or assistance from, or to participation in, any other program of the entity or
individual that provided such service or information.

§ 300a-6. Prohibition against funding programs using abortion as family plan-
ning method

None of the funds appropriated under this subchapter shall be used in programs
where abortion is a method of family planning.

§ 300a-7. Sterilization or abortion

(a) Omitted

(b) Prohibition of public officials and public authorities from imposition of
certain requirements contrary to religious beliefs or moral convictions

The receipt of any grant, contract, loan, or loan guarantee under the Public Health
Service Act, the Community Mental Health Centers Act, or the Developmental
Disabilities Services and Facilities Construction Act by any individual or entity
does not authorize any court or any public official or other public authority to re-
quire--

      (1) such individual to perform or assist in the performance of any steriliza-
      tion procedure or abortion if his performance or assistance in the perfor-
      mance of such procedure or abortion would be contrary to his religious be-
      liefs or moral convictions; or

      (2) such entity to--

              (A) make its facilities available for the performance of any steriliza-
              tion procedure or abortion if the performance of such procedure or
              abortion in such facilities is prohibited by the entity on the basis of re-
              ligious beliefs or moral convictions, or

              (B) provide any personnel for the performance or assistance in the
              performance of any sterilization procedure or abortion if the perfor-
              mance or assistance in the performance of such procedures or abortion
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            by such personnel would be contrary to the religious beliefs or moral
            convictions of such personnel.

(c) Discrimination prohibition

      (1) No entity which receives a grant, contract, loan, or loan guarantee under
      the Public Health Service Act, the Community Mental Health Centers Act,
      or the Developmental Disabilities Services and Facilities Construction Act
      after June 18, 1973, may--

            (A) discriminate in the employment, promotion, or termination of em-
            ployment of any physician or other health care personnel, or

            (B) discriminate in the extension of staff or other privileges to any
            physician or other health care personnel,

      because he performed or assisted in the performance of a lawful sterilization
      procedure or abortion, because he refused to perform or assist in the perfor-
      mance of such a procedure or abortion on the grounds that his performance
      or assistance in the performance of the procedure or abortion would be con-
      trary to his religious beliefs or moral convictions, or because of his religious
      beliefs or moral convictions respecting sterilization procedures or abortions.

      (2) No entity which receives after July 12, 1974, a grant or contract for bio-
      medical or behavioral research under any program administered by the Sec-
      retary of Health and Human Services may--

            (A) discriminate in the employment, promotion, or termination of em-
            ployment of any physician or other health care personnel, or

            (B) discriminate in the extension of staff or other privileges to any
            physician or other health care personnel,

      because he performed or assisted in the performance of any lawful health
      service or research activity, because he refused to perform or assist in the
      performance of any such service or activity on the grounds that his perfor-
      mance or assistance in the performance of such service or activity would be
      contrary to his religious beliefs or moral convictions, or because of his reli-
      gious beliefs or moral convictions respecting any such service or activity.

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(d) Individual rights respecting certain requirements contrary to religious be-
liefs or moral convictions

No individual shall be required to perform or assist in the performance of any part
of a health service program or research activity funded in whole or in part under a
program administered by the Secretary of Health and Human Services if his perfor-
mance or assistance in the performance of such part of such program or activity
would be contrary to his religious beliefs or moral convictions.

(e) Prohibition on entities receiving Federal grant, etc., from discriminating
against applicants for training or study because of refusal of applicant to par-
ticipate on religious or moral grounds

No entity which receives, after September 29, 1979, any grant, contract, loan, loan
guarantee, or interest subsidy under the Public Health Service Act, the Community
Mental Health Centers Act, or the Developmental Disabilities Assistance and Bill
of Rights Act of 2000 may deny admission or otherwise discriminate against any
applicant (including applicants for internships and residencies) for training or study
because of the applicant's reluctance, or willingness, to counsel, suggest, recom-
mend, assist, or in any way participate in the performance of abortions or steriliza-
tions contrary to or consistent with the applicant's religious beliefs or moral con-
victions.

§ 300a-8. Penalty for United States, etc., officer or employee coercing or en-
deavoring to coerce procedure upon beneficiary of Federal program

Any--

        (1) officer or employee of the United States,

        (2) officer or employee of any State, political subdivision of a State, or any
        other entity, which administers or supervises the administration of any pro-
        gram receiving Federal financial assistance, or

        (3) person who receives, under any program receiving Federal financial as-
        sistance, compensation for services,

who coerces or endeavors to coerce any person to undergo an abortion or steriliza-
tion procedure by threatening such person with the loss of, or disqualification for
the receipt of, any benefit or service under a program receiving Federal financial
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assistance shall be fined not more than $1,000 or imprisoned for not more than one
year, or both.

          Title X’s Implementing Regulations, 42 C.F.R. § 59.1, et seq.

§ 59.1 To what programs do these regulations apply?

The regulations of this subpart are applicable to the award of grants under section
1001 of the Public Health Service Act (42 U.S.C. 300) to assist in the establish-
ment and operation of voluntary family planning projects. These projects shall con-
sist of the educational, comprehensive medical, and social services necessary to aid
individuals to determine freely the number and spacing of their children.

§ 59.2 Definitions.

As used in this subpart:

Act means the Public Health Service Act, as amended.

Adolescent-friendly health services are services that are accessible, acceptable, eq-
uitable, appropriate and effective for adolescents.

Clinical services provider includes physicians, physician assistants, nurse practi-
tioners, certified nurse midwives, and registered nurses with an expanded scope of
practice who are trained and permitted by state-specific regulations to perform all
aspects of the user (male and female) physical assessments recommended for con-
traceptive, related preventive health, and basic infertility care.

Client-centered care is respectful of, and responsive to, individual client prefer-
ences, needs, and values; client values guide all clinical decisions.

Culturally and linguistically appropriate services are respectful of and responsive
to the health beliefs, practices and needs of diverse patients.

Family means a social unit composed of one person, or two or more persons living
together, as a household.

Family planning services include a broad range of medically approved services,
which includes Food and Drug Administration (FDA)-approved contraceptive
products and natural family planning methods, for clients who want to prevent
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pregnancy and space births, pregnancy testing and counseling, assistance to
achieve pregnancy, basic infertility services, sexually transmitted infection (STI)
services, and other preconception health services.

Health equity is when all persons have the opportunity to attain their full health po-
tential and no one is disadvantaged from achieving this potential because of social
position or other socially determined circumstances.

Inclusive is when all people are fully included and can actively participate in and
benefit from family planning, including, but not limited to, individuals who belong
to underserved communities, such as Black, Latino, and Indigenous and Native
American persons, Asian Americans and Pacific Islanders and other persons of
color; members of religious minorities; lesbian, gay, bisexual, transgender, and
queer (LGBTQ+) persons; persons with disabilities; persons who live in rural ar-
eas; and persons otherwise adversely affected by persistent poverty or inequality.

Low-income family means a family whose total annual income does not exceed
100 percent of the most recent Poverty Guidelines issued pursuant to 42 U.S.C.
9902(2). “Low-income family” also includes members of families whose annual
family income exceeds this amount, but who, as determined by the project director,
are unable, for good reasons, to pay for family planning services. For example, un-
emancipated minors who wish to receive services on a confidential basis must be
considered on the basis of their own resources.

Nonprofit, as applied to any private agency, institution, or organization, means that
no part of the entity's net earnings benefit, or may lawfully benefit, any private
shareholder or individual.

Quality healthcare is safe, effective, client-centered, timely, efficient, and equita-
ble.

Secretary means the Secretary of Health and Human Services (HHS) and any other
officer or employee of the Department of Health and Human Services to whom the
authority involved has been delegated.

Service site is a clinic or other location where Title X services are provided to cli-
ents. Title X recipients and/or their subrecipients may have service sites.

State includes, in addition to the several States, the District of Columbia, Guam,
the Commonwealth of Puerto Rico, the Northern Mariana Islands, the U.S. Virgin
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Islands, American Samoa, the U.S. Outlaying Islands (Midway, Wake, et al.), the
Marshall Islands, the Federated State of Micronesia, and the Republic of Palau.

Trauma-informed means a program, organization, or system that is trauma-in-
formed realizes the widespread impact of trauma and understands potential paths
for recovery; recognizes the signs and symptoms of trauma in clients, families,
staff, and others involved with the system; and responds by fully integrating
knowledge about trauma into policies, procedures, and practices, and seeks to ac-
tively resist re-traumatization.

§ 59.3 Who is eligible to apply for a family planning services grant?

Any public or nonprofit private entity in a State may apply for a grant under this
subpart.

§ 59.4 How does one apply for a family planning services grant?

(a) Application for a grant under this subpart shall be made on an authorized form.

(b) An individual authorized to act for the applicant and to assume on behalf of the
applicant the obligations imposed by the terms and conditions of the grant, includ-
ing the regulations of this subpart, must sign the application.

(c) The application shall contain

      (1) A description, satisfactory to the Secretary, of the project and how it will
      meet the requirements of this subpart;

      (2) A budget and justification of the amount of grant funds requested;

      (3) A description of the standards and qualifications which will be required
      for all personnel and for all facilities to be used by the project; and

      (4) Such other pertinent information as the Secretary may require.

§ 59.5 What requirements must be met by a family planning project?

(a) Each project supported under this part must:
      (1) Provide a broad range of acceptable and effective medically approved
      family planning methods (including natural family planning methods) and
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services (including pregnancy testing and counseling, assistance to achieve
pregnancy, basic infertility services, STI services, preconception health ser-
vices, and adolescent-friendly health services). If an organization offers only
a single method of family planning, it may participate as part of a project as
long as the entire project offers a broad range of acceptable and effective
medically approved family planning methods and services. Title X service
sites that are unable to provide clients with access to a broad range of ac-
ceptable and effective medically approved family planning methods and ser-
vices, must be able to provide a prescription to the client for their method of
choice or referrals to another provider, as requested.

(2) Provide services without subjecting individuals to any coercion to accept
services or to employ or not to employ any particular methods of family
planning. Acceptance of services must be solely on a voluntary basis and
may not be made a prerequisite to eligibility for, or receipt of, any other ser-
vices, assistance from or participation in any other program of the applicant.

(3) Provide services in a manner that is client-centered, culturally and lin-
guistically appropriate, inclusive, and trauma-informed; protects the dignity
of the individual; and ensures equitable and quality service delivery con-
sistent with nationally recognized standards of care.

(4) Provide services in a manner that does not discriminate against any client
based on religion, race, color, national origin, disability, age, sex, sexual ori-
entation, gender identity, sex characteristics, number of pregnancies, or mar-
ital status.

(5) Not provide abortion as a method of family planning. A project must:

      (i) Offer pregnant clients the opportunity to be provided information
      and counseling regarding each of the following options:

             (A) Prenatal care and delivery;

             (B) Infant care, foster care, or adoption; and

             (C) Pregnancy termination.

      (ii) If requested to provide such information and counseling, provide
      neutral, factual information and nondirective counseling on each of
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      the options, and, referral upon request, except with respect to any op-
      tion(s) about which the pregnant client indicates they do not wish to
      receive such information and counseling.

(6) Provide that priority in the provision of services will be given to clients
from low-income families.

(7) Provide that no charge will be made for services provided to any clients
from a low-income family except to the extent that payment will be made by
a third party (including a government agency) which is authorized to or is
under legal obligation to pay this charge.

(8) Provide that charges will be made for services to clients other than those
from low-income families in accordance with a schedule of discounts based
on ability to pay, except that charges to persons from families whose annual
income exceeds 250 percent of the levels set forth in the most recent Poverty
Guidelines issued pursuant to 42 U.S.C. 9902(2) will be made in accordance
with a schedule of fees designed to recover the reasonable cost of providing
services.

      (i) Family income should be assessed before determining whether co-
      payments or additional fees are charged.

      (ii) With regard to insured clients, clients whose family income is at
      or below 250 percent of the FPL should not pay more (in copayments
      or additional fees) than what they would otherwise pay when the
      schedule of discounts is applied.

(9) Take reasonable measures to verify client income, without burdening cli-
ents from low-income families. Recipients that have lawful access to other
valid means of income verification because of the client's participation in an-
other program may use those data rather than re-verify income or rely solely
on clients' self-report. If a client's income cannot be verified after reasonable
attempts to do so, charges are to be based on the client's self-reported in-
come.

(10) If a third party (including a Government agency) is authorized or le-
gally obligated to pay for services, all reasonable efforts must be made to
obtain the third-party payment without application of any discounts. Where
the cost of services is to be reimbursed under title XIX, XX, or XXI of the
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      Social Security Act, a written agreement with the title XIX, XX, or XXI
      agency is required.

      (11)
              (i) Provide that if an application relates to consolidation of service ar-
              eas or health resources or would otherwise affect the operations of lo-
              cal or regional entities, the applicant must document that these entities
              have been given, to the maximum feasible extent, an opportunity to
              participate in the development of the application. Local and regional
              entities include existing or potential subrecipients which have previ-
              ously provided or propose to provide family planning services to the
              area proposed to be served by the applicant.

              (ii) Provide an opportunity for maximum participation by existing or
              potential subrecipients in the ongoing policy decision making of the
              project.

(b) In addition to the requirements of paragraph (a) of this section, each project
must meet each of the following requirements unless the Secretary determines that
the project has established good cause for its omission. Each project must:

      (1) Provide for medical services related to family planning (including con-
      sultation by a clinical services provider, examination, prescription and con-
      tinuing supervision, laboratory examination, contraceptive supplies), in per-
      son or via telehealth, and necessary referral to other medical facilities when
      medically indicated, and provide for the effective usage of contraceptive de-
      vices and practices.

      (2) Provide for social services related to family planning, including counsel-
      ing, referral to and from other social and medical service agencies, and any
      ancillary services which may be necessary to facilitate clinic attendance.

      (3) Provide for opportunities for community education, participation, and en-
      gagement to:

              (i) Achieve community understanding of the objectives of the pro-
              gram;

              (ii) Inform the community of the availability of services; and

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            (iii) Promote continued participation in the project by diverse persons
            to whom family planning services may be beneficial to ensure access
            to equitable, affordable, client-centered, quality family planning ser-
            vices.

      (4) Provide for orientation and in-service training for all project personnel.

      (5) Provide services without the imposition of any durational residency re-
      quirement or requirement that the patient be referred by a physician.

      (6) Provide that family planning medical services will be performed under
      the direction of a clinical services provider, with services offered within
      their scope of practice and allowable under state law, and with special train-
      ing or experience in family planning.

      (7) Provide that all services purchased for project participants will be author-
      ized by the project director or their designee on the project staff.

      (8) Provide for coordination and use of referrals and linkages with primary
      healthcare providers, other providers of healthcare services, local health and
      welfare departments, hospitals, voluntary agencies, and health services pro-
      jects supported by other federal programs, who are in close physical proxim-
      ity to the Title X site, when feasible, in order to promote access to services
      and provide a seamless continuum of care.

      (9) Provide that if family planning services are provided by contract or other
      similar arrangements with actual providers of services, services will be pro-
      vided in accordance with a plan which establishes rates and method of pay-
      ment for medical care. These payments must be made under agreements
      with a schedule of rates and payment procedures maintained by the recipi-
      ent. The recipient must be prepared to substantiate that these rates are rea-
      sonable and necessary.

      (10) Provide, to the maximum feasible extent, an opportunity for participa-
      tion in the development, implementation, and evaluation of the project by
      persons broadly representative of all significant elements of the population
      to be served, and by others in the community knowledgeable about the com-
      munity's needs for family planning services.

§ 59.6 What procedures apply to assure the suitability of informational and
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educational material (print and electronic)?

(a) A grant under this section may be made only upon assurance satisfactory to the
Secretary that the project shall provide for the review and approval of informa-
tional and educational materials (print and electronic) developed or made available
under the project by an Advisory Committee prior to their distribution, to assure
that the materials are suitable for the population or community to which they are to
be made available and the purposes of Title X of the Act. The project shall not dis-
seminate any such materials which are not approved by the Advisory Committee.

(b) The Advisory Committee referred to in paragraph (a) of this section shall be es-
tablished as follows:

      (1) Size. The committee shall consist of no fewer than five members and up
      to as many members the recipient determines, except that this provision may
      be waived by the Secretary for good cause shown.

      (2) Composition. The committee shall include individuals broadly repre-
      sentative of the population or community for which the materials are in-
      tended (in terms of demographic factors such as race, ethnicity, color, na-
      tional origin, disability, sex, sexual orientation, gender identity, sex charac-
      teristics, age, marital status, income, geography, and including but not lim-
      ited to individuals who belong to underserved communities, such as Black,
      Latino, and Indigenous and Native American persons, Asian Americans and
      Pacific Islanders and other persons of color; members of religious minori-
      ties; lesbian, gay, bisexual, transgender, and queer (LGBTQ+) persons; per-
      sons with disabilities; persons who live in rural areas; and persons otherwise
      adversely affected by persistent poverty or inequality).

      (3) Function. In reviewing materials, the Advisory Committee shall:

             (i) Consider the educational, cultural, and diverse backgrounds of in-
             dividuals to whom the materials are addressed;

             (ii) Consider the standards of the population or community to be
             served with respect to such materials;

             (iii) Review the content of the material to assure that the information
             is factually correct, medically accurate, culturally and linguistically
             appropriate, inclusive, and trauma informed;
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             (iv) Determine whether the material is suitable for the population or
             community to which is to be made available; and

             (v) Establish a written record of its determinations.

§ 59.7 What criteria will the Department of Health and Human Services use to
decide which family planning services projects to fund and in what amount?

(a) Within the limits of funds available for these purposes, the Secretary may
award grants for the establishment and operation of those projects which will in the
Department's judgment best promote the purposes of section 1001 of the Act, tak-
ing into account:

      (1) The number of clients, and, in particular, the number of low-income cli-
      ents to be served;

      (2) The extent to which family planning services are needed locally;

      (3) The ability of the applicant to advance health equity;

      (4) The relative need of the applicant;

      (5) The capacity of the applicant to make rapid and effective use of the fed-
      eral assistance;

      (6) The adequacy of the applicant's facilities and staff;

      (7) The relative availability of non-federal resources within the community
      to be served and the degree to which those resources are committed to the
      project; and

      (8) The degree to which the project plan adequately provides for the require-
      ments set forth in these regulations.

(b) The Secretary shall determine the amount of any award on the basis of an esti-
mate of the sum necessary for the performance of the project. No grant may be
made for less than 90 percent of the project's costs, as so estimated, unless the
grant is to be made for a project which was supported, under section 1001, for less
than 90 percent of its costs in fiscal year 1975. In that case, the grant shall not be
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for less than the percentage of costs covered by the grant in fiscal year 1975.

(c) No grant may be made for an amount equal to 100 percent for the project's esti-
mated costs.

§ 59.8 How is a grant awarded?

(a) The notice of grant award specifies how long HHS intends to support the pro-
ject without requiring the project to recompete for funds. This anticipated period
will usually be for three to five years.

(b) Generally, the grant will initially be for one year and subsequent continuation
awards will also be for one year at a time. A recipient must submit a separate appli-
cation to have the support continued for each subsequent year. Decisions regarding
continuation awards and the funding level of such awards will be made after con-
sideration of such factors as the recipient's progress and management practices and
the availability of funds. In all cases, continuation awards require a determination
by HHS that continued funding is in the best interest of the government.

(c) Neither the approval of any application nor the award of any grant commits or
obligates the United States in any way to make any additional, supplemental, con-
tinuation, or other award with respect to any approved application or portion of an
approved application.

§ 59.9 For what purpose may grant funds be used?

Any funds granted under this subpart shall be expended solely for the purpose for
which the funds were granted in accordance with the approved application and
budget, the regulations of this subpart, the terms and conditions of the award, and
the applicable cost principles prescribed in 45 CFR part 75.

§ 59.10 Confidentiality.

(a) All information as to personal facts and circumstances obtained by the project
staff about individuals receiving services must be held confidential and must not be
disclosed without the individual's documented consent, except as may be necessary
to provide services to the patient or as required by law, with appropriate safeguards
for confidentiality. Otherwise, information may be disclosed only in summary, sta-
tistical, or other form which does not identify particular individuals. Reasonable ef-
forts to collect charges without jeopardizing client confidentiality must be made.
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Recipient must inform the client of any potential for disclosure of their confidential
health information to policyholders where the policyholder is someone other than
the client.

(b) To the extent practical, Title X projects shall encourage family participation.
However, Title X projects may not require consent of parents or guardians for the
provision of services to minors, nor can any Title X project staff notify a parent or
guardian before or after a minor has requested and/or received Title X family plan-
ning services.

§ 59.11 Additional conditions.

The Secretary may, with respect to any grant, impose additional conditions prior
to, at the time of, or during any award, when in the Department's judgment these
conditions are necessary to assure or protect advancement of the approved pro-
gram, the interests of public health, or the proper use of grant funds.




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